Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 1 of
                                      187




                                   Exhibit A
Barry Mukamal, CPA, PFS, ABV, CIRA, CFE, CFF, CGMA                          8/1/2023
Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 2Page
                                                                               of 1
                                      187

  1                  IN THE UNITED STATES DISTRICT COURT
  2                  FOR THE SOUTHERN DISTRICT OF FLORIDA
  3     JIANGMEN BENLIDA PRINTED                     )
  4     CIRCUIT CO., LTD.,                           )
  5             Plaintiff,                           )
  6     vs.                                          ) Civil Action No.
  7     CIRCUITRONIX, LLC,                           ) 21-601-125-civ
  8             Defendant.                           )
  9

 10                                   ORAL DEPOSITION
 11       BARRY MUKAMAL, CPA, PFS, ABV, CIRA, CFE, CFF, CGMA
 12                            Tuesday, August 1, 2023
 13

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 23     Reported by:
 24     Rebecca Callow, RMR, CRR, RPR
 25     Job No. 131876


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 3Page
                                                                               of 2
                                      187

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  2            ORAL DEPOSITION OF BARRY MUKAMAL, CPA, PFS,
  3     ABV, CIRA, CFE, CFF, CGMA, produced as a witness
  4     at the instance of the Defendant and duly sworn,
  5     was taken in the above-styled and numbered cause
  6     on the 1st day of August 2023, from 10:30 a.m. to
  7     4:02 p.m., before Rebecca J. Callow, Registered
  8     Merit Reporter, Certified Realtime Reporter,
  9     Registered Professional Reporter and Notary Public
 10     for the State of Florida, reported by computerized
 11     stenotype machine at the offices of
 12     Podhurst Orseck, P.A., One S.E. 3rd Avenue,
 13     Suite 2300, Miami, Florida, pursuant to the
 14     Federal Rules of Civil Procedure.
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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 4Page
                                                                               of 3
                                      187

  1                                       APPEARANCES
  2     FOR PLAINTIFF:
  3             Podhurst Orseck, P.A.
  4             One S.E. 3rd Avenue
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  9                              cmartinez@podhurst.com
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 11                              srosenthal@podhurst.com
 12

 13     FOR DEFENDANT:
 14             Mazzola Lindstrom LLP
 15             1350 Avenue of the Americas
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 17             New York, New York 10019
 18             (646) 216-8300
 19                      By:     Jean-Claude Mazzola, Esq.
 20                              jeanclaude@mazzolalindstrom.com
 21                              Richard Lerner, Esq.
 22                              richard@mazzolalindstrom.com
 23     ALSO PRESENT:
 24             Jessica Miller
 25             Rishi Kukreja (via Zoom)


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 5Page
                                                                               of 4
                                      187

  1                                            INDEX
  2                                                                         PAGE
  3     BARRY MUKAMAL, CPA, PFS, ABV, CIRA, CFE, CFF, CGMA
  4     Examination by Mr. Mazzola ........................7
  5

  6

  7

  8

  9

 10

 11     Changes and corrections                      ........................184
 12     Signature Page             .................................185
 13     Court Reporter's Certificate ....................186
 14

 15

 16

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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 6Page
                                                                               of 5
                                      187

  1                                          EXHIBITS
  2     NO.                      DESCRIPTION                              PAGE
  3     Exhibit 164              Kapila Mukamal Invoices:                  181
  4                              5/31/2021 through 6/30/2023
  5     Exhibit 165              Barry E. Mukamal - Recent                   25
  6                              Testimony History
  7     Exhibit 166              4/12/2019 Invoice No.                       54
  8                              CCT-BLD-190412001
  9     Exhibit 167              Benlida Invoice No.                         54
 10                              BLDCCT-HK19080602
 11     Exhibit 168              Black binder containing                   101
 12                              supporting materials used by
 13                              Kapila Mukamal
 14

 15                           PREVIOUSLY MARKED EXHIBITS
 16     NO.                                                               PAGE
 17     Exhibit 21                 .................................139
 18     Exhibit 27                 .................................135
 19     Exhibit 40                 .................................127
 20     Exhibit 62                 ...................................8
 21     Exhibit 121                ..................................76
 22     Exhibit 139                .................................142
 23     Exhibit 140                .................................147
 24     Exhibit 144                ..................................98
 25



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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 7Page
                                                                               of 6
                                      187

  1                    PREVIOUSLY MARKED EXHIBITS (Cont.)
  2     NO.                                                               PAGE
  3     Exhibit 147                ..................................11
  4     Exhibit 151                ..................................15
  5     Exhibit 152                ...................................9
  6     Exhibit 155                .................................107
  7     Exhibit 156                .................................108
  8     Exhibit 158                .................................156
  9

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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 8Page
                                                                               of 7
                                      187

  1                              P R O C E E D I N G S
  2                                       - - - - - -
  3     BARRY MUKAMAL, CPA, PFS, ABV, CIRA, CFE, CFF, CGMA,
  4                  called as a witness herein, having
  5             been first duly sworn by a Notary Public,
  6               was examined and testified as follows:
  7                                       EXAMINATION
  8            BY MR. MAZZOLA:
  9            Q.      Good morning, Mr. Mukamal.
 10            A.      Good morning.
 11            Q.      Actually, can you give me your name for the
 12     record?
 13            A.      Sure.       Barry Mukamal.           M-u-k-a-m-a-l.
 14            Q.      And you are a forensic accountant.                Is that
 15     correct?
 16            A.      Well, if you want to put a label to it, I'm
 17     a certified public accountant.
 18            Q.      You understand that you're here to provide
 19     testimony in a matter brought by our clients, which
 20     we're referring to as "Benlida," against
 21     Circuitronix, LLC.
 22                            Do you understand that?
 23            A.      Yes.
 24            Q.      And you also understand that we're going to
 25     be asking you questions about a report that was


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 9Page
                                                                               of 8
                                      187

  1     prepared by you, and I also understand by
  2     Mr. Parisi. Is that correct?
  3            A.      Correct.         Just to be clear, there's a --
  4     your complaint and there's a countercomplaint.
  5            Q.      Okay.       So I assume you've read both.
  6     Right?
  7            A.      I did.
  8            Q.      We might as well start right now.                 Let's
  9     look at -- if you have the binders in front of you,
 10     there's an Exhibit 162.
 11                            I beg your pardon.             It's 62.   I'm so
 12     sorry.
 13            A.      Yes.
 14            Q.      Do you see that document?
 15            A.      Yes.
 16            Q.      Do you see that it says "Third Amended
 17     Complaint" on it?
 18            A.      Yes.
 19            Q.      It's on the right side.                And that's got the
 20     caption of the lawsuit.                      It's Benlida versus
 21     Circuitronix, LLC.
 22                            And you understand that you're here to
 23     testify in connection with this litigation.                        Okay?
 24     Whether it's the third-party complaint, the
 25     counterclaim, the answer, but in connection with this


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 10Page
                                                                                 of 9
                                                187

  1    litigation as regards to the report that you wrote.
  2    Is that correct, Mr. Mukamal?
  3          A.     Yes.
  4          Q.     And we've got another document.               It's
  5    Exhibit 152.
  6                        152 is a document that's got the
  7    caption across the top, "Benlida versus Circuitronix,
  8    LLC."      And if you'll note, that's the same caption
  9    that's on the Third Amended Complaint at Exhibit 62.
 10    Is that correct?
 11                        Same case number?
 12          A.     Same case number.
 13          Q.     It says "Exhibit 1" in the upper right-hand
 14    corner.
 15                        Do you see that on Exhibit 152?
 16          A.     Yes.
 17          Q.     And in the lower right-hand corner, it says
 18    "Kapila Mukamal."
 19                        Do you see that --
 20          A.     Kapila.
 21          Q.     -- "Kapila Mukamal."
 22                        Kapila Mukamal is your forensic and
 23    insolvency advisory firm.             Is that correct?
 24          A.     That's how it's described, but it's a CPA
 25    firm.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 11  of 10
                                                                              Page
                                                187

  1          Q.     Okay.     But the point is that this
  2    Exhibit 152 was attached to the report that you
  3    prepared in connection with this litigation.                      Is
  4    that correct?
  5          A.     Yes.
  6          Q.     And this Exhibit 152, this identifies
  7    documents utilized in the preparation of the report.
  8    Is that correct?
  9          A.     And/or reviewed.
 10          Q.     Okay.     It says "utilized."
 11          A.     That's what it says.
 12          Q.     And the review that you're looking at is my
 13    handwriting.        So you would have done both.               You
 14    would have utilized them, and you would have
 15    reviewed those documents.              Is that correct?
 16          A.     Yes.
 17          Q.     And Mr. Parisi would have done the same.
 18    Is that correct?
 19          A.     Yes.
 20          Q.     And Item Number 1 on that is the
 21    Third Amended Complaint.
 22                        Do you see that?
 23          A.     Yes.
 24          Q.     So as we go forward with today's
 25    deposition, is it safe for me to assume that you


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 12  of 11
                                                                              Page
                                                187

  1    did, in fact, review and utilize this Exhibit 62,
  2    which is identified as the Third Amended Complaint?
  3          A.     I did review it, yes.
  4          Q.     Did you utilize it?
  5          A.     I utilized it in forming my opinions.
  6          Q.     Okay.     So you reviewed and utilized.               So as
  7    we -- is that correct?
  8          A.     Yes.
  9          Q.     And so as we go forward again today, if I
 10    refer to a document that's on this Exhibit 1, your
 11    Exhibit 1, which is marked as our exhibit -- the
 12    case Exhibit 152, I can assume as I go forward that
 13    these are documents that you utilized and reviewed.
 14          A.     Well, we're talking about this document
 15    here.      We're not talking about all of the documents
 16    that may or may not be referenced in the complaint.
 17          Q.     I'm talking about this -- okay.
 18                        Let's look at Exhibit 147.
 19          A.     Okay.
 20          Q.     That is your report.              Right?
 21          A.     Yes.
 22          Q.     This is a report that was prepared by you
 23    and Mr. Parisi.         Is that correct?
 24          A.     Yes.
 25          Q.     And I assume you read this report before it


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 13  of 12
                                                                              Page
                                                187

  1    was submitted to us and to your counsel -- or to
  2    CTX's counsel.         Is that correct?
  3          A.     Yes.
  4          Q.     And I assume that everything that's in this
  5    report, because you approved it, and I assume you
  6    signed off on it.          Right?
  7          A.     Yes.
  8          Q.     You did.      And because of that, we can
  9    assume that everything in this report you believe is
 10    correct, and it's presented within a reasonable
 11    degree of accounting certainty.                Is that correct?
 12          A.     It's my opinions.          Yes.
 13          Q.     Okay.     And your opinions are rendered
 14    within a reasonable degree of accounting certainty?
 15          A.     It's a vague term, but I believe that's
 16    correct.
 17          Q.     Okay.     So back to this Exhibit 152, which
 18    is attached to this Exhibit 147.                 What I want to
 19    understand, Mr. Mukamal, is as we go through the
 20    deposition today that if there's a document that is
 21    identified on Exhibit 152, which is Exhibit 1 to
 22    your report, can I assume those documents were
 23    utilized and reviewed by you and Mr. Parisi?
 24          A.     The documents contained in my report?
 25    Or -- are you talking about --


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 14  of 13
                                                                              Page
                                                187

  1          Q.     This Exhibit 152.          Do you have that in
  2    front of you?
  3          A.     Oh.    This.
  4          Q.     Yeah.
  5          A.     Sorry.
  6          Q.     And I will represent to you that that
  7    Exhibit 152 is attached to your report.
  8          A.     To the extent it's relevant for my
  9    opinions, I believe that's correct.
 10          Q.     Your report contains all your opinions.
 11    Right?
 12          A.     It contains the contents of my opinions.
 13          Q.     Okay.     How is that different from -- how is
 14    that -- my question was, your report contains all of
 15    your opinions.
 16                        Can you give me a yes or no on that?
 17          A.     It contains all the opinions that I intend
 18    to testify about.          Yes.
 19          Q.     Okay.     And then the question I'm trying to
 20    get to so I can just get a baseline for starting
 21    today is, there's an Exhibit 1 that is attached to
 22    your report, which we collectively have marked as
 23    Exhibit 152.
 24                        As we go forward today, can I assume
 25    that if the document is identified on this


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 15  of 14
                                                                              Page
                                                187

  1    Exhibit 152, which is Exhibit 1 to your report, that
  2    you utilized and reviewed them in the preparation of
  3    your report?
  4          A.     To the extent that it's relevant to my
  5    opinions.
  6          Q.     And the report contains all your opinions.
  7          A.     Correct.
  8          Q.     And I assume the same is with Mr. Parisi.
  9    He would have reviewed and utilized them to the
 10    extent that they are relevant to his opinions.
 11          A.     I can't speak for Mr. Parisi.
 12                        But you -- I assume you asked him that
 13    question yesterday, and that's my assumption.
 14          Q.     So let's just start with the first thing we
 15    were asking about, which is the Third Amended
 16    Complaint which you have in front of you as
 17    Exhibit Number 62.
 18          A.     Yes.
 19          Q.     You did review that in preparation for
 20    rendering your opinion and preparing the report.                        Is
 21    that correct?
 22          A.     I reviewed it.
 23          Q.     Let's look at another document we have.
 24    And we're going to -- we call it 151.                   And I will
 25    represent that that 151 is a printout of what's on


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 16  of 15
                                                                              Page
                                                187

  1    the screen in front of you.
  2                        Do you see that, Mr. Mukamal?
  3          A.     Yes.
  4          Q.     If it's easier to look at the document or
  5    the screen.
  6                        This printout is a printout of what was
  7    contained on a USB drive that was provided to us by
  8    CTX's counsel.
  9                        MR. LERNER:        Via Dropbox.
 10                        MR. MAZZOLA:        What's that?
 11                        Oh.    Via Dropbox.
 12          BY MR. MAZZOLA:
 13          Q.     And we were advised that what was in that
 14    Dropbox that you're looking at on the screen is
 15    everything that was utilized by you and Mr. Parisi
 16    in the preparation of the report.                 Is that correct?
 17          A.     If it was given to you by counsel with that
 18    representation, I assume it's correct.
 19          Q.     I don't know for certain, but it seems to
 20    me like the number of documents, just the sheer
 21    number, is much greater than what is identified on
 22    Exhibit 152.
 23                        Can you explain to me why that might be
 24    the case?
 25          A.     I would -- I believe that some of the items


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 17  of 16
                                                                              Page
                                                187

  1    on 152 are broadly defined, and this is detail of
  2    documents that we did utilize in arriving at the
  3    opinions that are extracted from those documents.
  4          Q.     You said -- you said "we."              Who are the
  5    "we's" that were involved in forming the opinion and
  6    in the preparation of the report?
  7                        And if those -- if that's two different
  8    sets of people, perhaps you could let me know that.
  9          A.     Well, these are members of my firm.
 10          Q.     Okay.
 11          A.     And Mr. Parisi.
 12          Q.     So I understand Mr. Parisi worked with you
 13    in rendering the opinion.              Is that correct?
 14          A.     In the process of rendering the opinion, we
 15    worked together.
 16          Q.     In the process of rendering the opinion,
 17    did you also work with Ms. Khanorkar?
 18          A.     Very good.
 19                        Yes.
 20                        MR. ROSENTHAL:         I spelled it out
 21          for him phonetically.
 22                        MR. MAZZOLA:        And I remembered
 23          how to write it.
 24          BY MR. MAZZOLA:
 25          Q.     In the process of rendering your opinion,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 18  of 17
                                                                              Page
                                                187

  1    did you work with anyone else, other than Mr. Parisi
  2    and Ms. Khanorkar?
  3          A.     Yeah.     I'm sure there were people that -- I
  4    don't have -- I'm sorry.             I don't have the invoices
  5    in front of me, but I'm sure there were people that
  6    were doing quality review.
  7          Q.     And those would have been what you call --
  8    you call them junior accountants now or assistants?
  9          A.     We call them consultants in our firm.
 10          Q.     But is it then fair to say that the heavy
 11    brain lifting, if you will, was done by yourself,
 12    Mr. Parisi and Ms. Khanorkar?
 13          A.     "Khanorkar," actually, is the correct
 14    pronunciation.
 15                        But you did very well, by the way.
 16          Q.     Is that correct?
 17          A.     I would agree with that.
 18          Q.     Ms. Khanorkar -- I understand she works
 19    remotely from India.           Is that correct?          Did I
 20    understand that correctly?
 21          A.     No.    She's visiting India.
 22          Q.     Okay.     And visiting there for how long?
 23          A.     She's been there for about a month and a
 24    half now, two months.            Month and a half to two
 25    months.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 19  of 18
                                                                              Page
                                                187

  1          Q.     Was she there on business?
  2          A.     No.    She's taking care of her husband's
  3    mother.
  4          Q.     Do you know if she has any relationship
  5    with Mr. Kukreja in India?
  6          A.     I'm almost certain she does not.
  7          Q.     Or any of his family?
  8          A.     I'm almost certain she does not.
  9          Q.     How is it that your firm came to be
 10    retained in this matter?             And that's a big question,
 11    I understand.        But what I'm getting at was who
 12    called you?        Was it Mr. Cole?
 13          A.     That's my recollection.
 14          Q.     Okay.     Before Mr. Cole reached out to you,
 15    had you ever done any business with Mr. Kukreja?
 16          A.     There was -- there was another case
 17    involving Circuitronix, LLC.
 18          Q.     What was that other case?
 19          A.     I believe it was Kin Wong versus
 20    Circuitronix or vice versa.
 21          Q.     Okay.     And other than working on that
 22    Kin Wong case with Mr. Cole and Mr. Kukreja, had you
 23    ever worked with Mr. Kukreja or any of his companies
 24    prior to that?
 25          A.     Not that I know of.           Not that I recall.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 20  of 19
                                                                              Page
                                                187

  1          Q.     How big is your -- well, how big is your
  2    firm?
  3                        And I just asked that question to get
  4    an idea as to whether it's possible that your firm
  5    could have worked with Mr. Kukreja, and you didn't
  6    know that.
  7          A.     No.    I would have known that because we run
  8    conflict checks.
  9          Q.     And you're -- I assume you're not a
 10    10,000-accountant firm.             Right?
 11          A.     No.    I left that.
 12          Q.     Mr. Parisi walked into that.               Right?
 13          A.     I don't know what that means.
 14          Q.     Mr. Parisi went to Citrin.              That's a much
 15    larger firm.
 16          A.     Oh.    Yeah.     He walked into that.
 17          Q.     He walked into that.
 18          A.     That's a good point.
 19          Q.     Why did Mr. Parisi leave?
 20                        MS. MARTINEZ:         Objection.
 21          A.     You'll have to ask him that question.
 22          BY MR. MAZZOLA:
 23          Q.     Had -- prior to Mr. Cole calling you to
 24    retain you in connection with this case, had you
 25    ever worked with Mr. Cole?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 21  of 20
                                                                              Page
                                                187

  1          A.     Yes.
  2          Q.     And how many times?
  3          A.     One other time I remember -- I recall.
  4          Q.     What about the Podhurst firm?               Had you ever
  5    worked with the Podhurst firm before this case?
  6          A.     Yes.
  7          Q.     And what case was that?
  8          A.     Far & Wide Travel.
  9          Q.     Do you know -- do you recall what that
 10    related to?
 11          A.     That's one case.
 12          Q.     Oh.    That's one case.           Okay.
 13          A.     Yeah.     Maybe there's another.            Give me a
 14    moment.      A case called PayCargo.
 15          Q.     With respect to Mr. Cole, have you ever
 16    been adverse to any client he's represented?
 17          A.     Not that I recall.
 18          Q.     With respect to the Podhurst firm, have you
 19    ever been adverse to any clients the Podhurst firm
 20    represented?
 21          A.     It's possible, but not that I recall.                   And
 22    it would have been many years ago if it -- if it did
 23    exist.
 24          Q.     And I'll assume the answer is no, because
 25    you probably wouldn't be sitting here.                   But have you


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 22  of 21
                                                                              Page
                                                187

  1    ever been adverse to Mr. Kukreja or any of his
  2    companies?
  3                        MS. MARTINEZ:        Objection.
  4          A.     Not to my knowledge.
  5          BY MR. MAZZOLA:
  6          Q.     You're a well-experienced expert witness, I
  7    understand.        Is that correct?
  8          A.     I don't know really what that means.
  9                        I have experience.
 10          Q.     Okay.     And I assume that you've provided
 11    deposition testimony before?
 12          A.     Yes.
 13          Q.     A number of times.          Right?
 14                        I have the list, so it's a lot.
 15          A.     Well, that's maybe the last five years or
 16    so.
 17          Q.     Okay.
 18          A.     The answer is ...
 19          Q.     "Yes"?
 20          A.     Multiple times.
 21          Q.     Have you provided testimony at trial?
 22          A.     Yes.
 23          Q.     In both state courts and federal courts?
 24          A.     Yes.
 25          Q.     Was that here in Florida or throughout the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 23  of 22
                                                                              Page
                                                187

  1    country?
  2          A.     Primarily in Florida.
  3          Q.     Have you ever been disqualified as an
  4    expert?
  5                        Do you know what I mean by that?
  6          A.     Yes.
  7                        But not disqualified.            But I know what
  8    you mean.
  9          Q.     You know what I mean by that.               Yeah.     That
 10    was a bad question.
 11                        So you've never been disqualified by a
 12    judge as an expert.
 13          A.     One time I wasn't able to testify because
 14    the judge determined that the remedy for the matter
 15    was contained within a specific contract that she
 16    interpreted, and that my testimony was not
 17    necessary.
 18          Q.     So the judge precluded you from testifying
 19    on relevancy?
 20                        MS. MARTINEZ:        Objection.
 21          BY MR. MAZZOLA:
 22          Q.     If you know?
 23          A.     That's my understanding.             I mean, the
 24    order -- and there was a comment, just to be clear,
 25    in her ruling that said my methodology was fine.                        It


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 24  of 23
                                                                              Page
                                                187

  1    was just not helpful.            It was not relevant.
  2          Q.     So you knew I was going to ask that next
  3    question.
  4                        Has your methodology ever been rejected
  5    by a judge?
  6          A.     No.
  7          Q.     What about your opinions?             Have they ever
  8    been rejected?
  9          A.     What's the difference?
 10          Q.     I don't know.        It sounds like in this case,
 11    a judge said that she wasn't going to accept your
 12    opinion, and it sounds like she said it was because
 13    it wasn't relevant.
 14          A.     Well, I was precluded from testifying in
 15    the case based on my interpretation relevancy.
 16          Q.     Were you precluded after -- do you know
 17    what it means to be voir dired as a witness?
 18          A.     Yes.
 19          Q.     Was it after you were voir dired as a
 20    witness?
 21          A.     At trial, are you talking about?
 22          Q.     Yeah.
 23          A.     No.
 24          Q.     Okay.     So this is something that was
 25    done --


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 25  of 24
                                                                              Page
                                                187

  1          A.     Pretrial.
  2          Q.     -- on papers.        You understand that.            Right?
  3          A.     Yes.
  4          Q.     What case was that?
  5                        Do you remember?
  6          A.     Bimini Bay, I believe.
  7          Q.     Attached to your report at Exhibit 147,
  8    Mr. Mukamal, is a list at the back.                  I'm going to
  9    hold this up for you.            It's this blue-and-white
 10    shaded chart --
 11          A.     Yeah.
 12          Q.     -- so you can easily find it.
 13                        MS. MARTINEZ:        What exhibit is
 14          that, JC?
 15                        MR. MAZZOLA:        147.     It's his
 16          report.      Is it attached to yours?             Did I --
 17                        MS. MARTINEZ:        I don't think we
 18          have the exhibits attached to the report.
 19          But let's see.         It's possible.
 20                        (Discussion off the record.)
 21          BY MR. MAZZOLA:
 22          Q.     Mr. Mukamal, I had asked you a question to
 23    try to have you identify the case where the judge
 24    that, I believe is what you said, precluded you from
 25    testifying.        And you said the case was Bimini Bay.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 26  of 25
                                                                              Page
                                                187

  1    And.
  2                         I'm going to hand you what we're going
  3    to mark as Exhibit 165.             Okay?
  4                        (Deposition Exhibit 165
  5                        marked for identification.)
  6          BY MR. MAZZOLA:
  7          Q.     And, Mr. Mukamal, I will represent that
  8    Exhibit 165 was an exhibit -- or is an exhibit
  9    that's attached to your report.
 10          A.     Right.
 11          Q.     And it's pretty self-explanatory.                 I'm just
 12    putting it in front of you.              It's a list of cases.
 13    Right?
 14          A.     Correct.
 15          Q.     And it's just in front of you to look at to
 16    see if it refreshes your recollection on any more
 17    details about the Bimini Bay case so we can find it.
 18          A.     I'm sorry?
 19          Q.     So we can identify it.
 20          A.     Oh.    It wouldn't be on this list.
 21          Q.     Okay.     And that's because why?
 22          A.     Because this is recent testimony history.
 23    Bimini Bay is many, many years ago.
 24          Q.     Okay.
 25          A.     I mean, normally, I'd like to keep this to


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 27  of 26
                                                                              Page
                                                187

  1    four years, five years, at the longest, to comport
  2    with the federal rules.             But sometimes we just -- it
  3    doesn't get dropped.           But Bimini Bay was a long time
  4    ago.
  5          Q.     What court was it in?
  6          A.     District court -- district court in Miami.
  7          Q.     You say "district."           Are you referring to
  8    the southern district federal court?
  9          A.     Correct.
 10          Q.     Any judge ever say that your opinions were
 11    unrealistic?
 12                        MS. MARTINEZ:        Objection.
 13          A.     In court?       Not that I recall.
 14          BY MR. MAZZOLA:
 15          Q.     Okay.     Any judge ever write anything that
 16    made reference to your opinion as being unrealistic?
 17                        MS. MARTINEZ:        Objection.
 18          A.     I'm interpreting what you mean by
 19    "unrealistic."         And not to my recollection or
 20    knowledge.
 21          BY MR. MAZZOLA:
 22          Q.     Any judge ever -- have you ever been -- has
 23    any of your methodologies that you've relied upon
 24    ever been found to be unrealistic?
 25                        MS. MARTINEZ:        Objection.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 28  of 27
                                                                              Page
                                                187

  1          A.     However you define the term "unrealistic,"
  2    I don't think so.
  3          BY MR. MAZZOLA:
  4          Q.     Now, we looked at 151, which is what's up
  5    on the screen.
  6          A.     Oh.    Yes.
  7          Q.     And then we looked at -- and I'm going to
  8    hold it up for you, just so you can see it, just to
  9    refresh your recollection, of Exhibit 152.
 10          A.     Right.
 11          Q.     And here I am trying to understand the --
 12    you know, again, the universe of all the documents
 13    that were utilized.           151 is what's up on the screen.
 14    152 was what was attached to your report.
 15                        Were there any other documents that you
 16    reviewed in the preparation of your report?                     And
 17    that's a different question from utilized.
 18          A.     It's quite possible.
 19          Q.     Okay.
 20          A.     But it wasn't relevant to my evaluation.
 21          Q.     Okay.     Who provided the documents to you?
 22          A.     I believe it was a combination of counsel
 23    and the client directly.
 24          Q.     What were the circumstances of the client
 25    CTX providing you documents directly?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 29  of 28
                                                                              Page
                                                187

  1                        MS. MARTINEZ:        Objection.
  2          A.     I'm not sure I understand the question.
  3          BY MR. MAZZOLA:
  4          Q.     Well, did you ask for additional documents
  5    from the client, and they sent them to you?
  6          A.     I'm sure, during the course of our
  7    engagement, we requested information that clarified
  8    or supported other documents.
  9          Q.     So --
 10          A.     And I would have noted, to the extent that
 11    they were relevant, they were listed and provided to
 12    counsel to provide to you.
 13          Q.     So in terms of the first step, the first
 14    set of documents that was provided to you, that
 15    would have been provided by counsel.                  Is that
 16    correct?
 17          A.     To the best of my recollection.                But I
 18    don't know the sequencing of documents.
 19          Q.     Do you ever --
 20          A.     Because remember, things like this is a
 21    start-and-stop engagement.
 22          Q.     Yes.    Do you have a recollection of
 23    reviewing documents and saying to yourself,
 24    presumably, first, that we need something else and
 25    then going back and asking for it?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 30  of 29
                                                                              Page
                                                187

  1          A.     I don't remember specifically any
  2    circumstance of that, but I'm sure it happened.
  3          Q.     If Mr. Parisi had come to the same sort of
  4    thought conclusion or epiphany, would he have
  5    discussed that with you, or would he have gone
  6    directly back either to counsel or client and asked
  7    for additional documents?
  8                        MS. MARTINEZ:        Objection.
  9          A.     He would not have asked me permission to
 10    ask for documents.
 11          BY MR. MAZZOLA:
 12          Q.     That isn't how it operated.              He was
 13    sufficiently senior to be able to make decisions on
 14    his own?
 15                        MS. MARTINEZ:        Objection.
 16          A.     If it was an issue that he was concerned
 17    about, that maybe he was overstepping what he
 18    believes he should have asked -- should be asking
 19    for, he would have conferred with me.                   And we likely
 20    would have conferred with counsel.
 21          BY MR. MAZZOLA:
 22          Q.     In conferring with counsel, would
 23    Mr. Parisi have been present for those discussions?
 24          A.     I don't know all of them, but most likely,
 25    yes.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 31  of 30
                                                                              Page
                                                187

  1          Q.     Would Ms. Khanorkar have been present for
  2    those discussions?
  3          A.     On occasion.
  4          Q.     Other than communicating with counsel, did
  5    you have communications with anyone at CTX?
  6          A.     Yes.
  7          Q.     And who was that?
  8          A.     Mr. Kukreja.
  9          Q.     So you spoke with Rishi?
 10          A.     Oh, yes.
 11          Q.     Okay.     Anyone else?
 12          A.     It depends on the time frame that you're
 13    talking about.
 14                        I mean, it was -- if it was during --
 15    during the whole case matter, yes.                 I just don't
 16    remember the names.           I mean, his internal staff, we
 17    had a meeting or two.
 18          Q.     Do you recall speaking to a lady named
 19    Lina Ochoa?
 20          A.     It's possible.
 21          Q.     A lady named Nicole Donaldson?
 22          A.     It's possible.
 23          Q.     I don't want to put you on the spot, and I
 24    really don't want to take the time to go through the
 25    time sheets, and I don't know your billing


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 32  of 31
                                                                              Page
                                                187

  1    practices.       But would you have made a note meeting
  2    with --
  3          A.     I would have said "client," most likely.
  4          Q.     Okay.     What about Celin Astudillo?
  5                        Do you recall speaking to him?
  6          A.     I don't remember the names.
  7          Q.     Celin Astudillo is a -- I'm going to -- I'm
  8    going to suspect, because we're in Miami, he's of
  9    Cuban descent.
 10                        MR. LERNER:        No.     Ecuador,
 11          Nicaragua.       Latin American.
 12                        MS. MARTINEZ:        Objection.
 13          BY MR. MAZZOLA:
 14          Q.     He's of Latin descent.             I think he's maybe
 15    late 50s, early 60s.           No?
 16                        MS. MARTINEZ:        Objection.
 17          A.     I think it's possible.             I just don't
 18    recall.
 19          BY MR. MAZZOLA:
 20          Q.     Other than Rishi, any other names that you
 21    can recall having spoken with?
 22          A.     Sitting here, no.
 23          Q.     Do you have any recollection of speaking
 24    with anyone at CTX that was in India?
 25                        Not like Rishi on business in India,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 33  of 32
                                                                              Page
                                                187

  1    but just someone working for Rishi at the India
  2    operation.
  3          A.     Not for this matter.
  4          Q.     Any recollection of speaking to anyone that
  5    was in Hong Kong in connection with this matter?
  6          A.     I don't believe I did.
  7          Q.     Did you bring a file with you today?
  8          A.     I brought my report with me, and I think
  9    Mr. Paulikens's report also.
 10          Q.     Okay.
 11          A.     Somewhere.
 12          Q.     Did you bring any engagement -- your
 13    engagement letter with you?
 14          A.     No.
 15          Q.     What was the scope of your engagement?
 16          A.     The scope of my engagement was to -- and I
 17    think I -- let me back up.              I think I put it in my
 18    report.
 19                        (Document review.)
 20          A.     So the scope of my engagement was to
 21    evaluate, quantify, and support the counterclaim of
 22    my client.
 23          BY MR. MAZZOLA:
 24          Q.     And that -- you're looking at your report.
 25    Right?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 34  of 33
                                                                              Page
                                                187

  1          A.     That's my report.
  2          Q.     And you were looking in the report when you
  3    said that.
  4          A.     No.    That's -- I was looking to see if I
  5    said it in the report.
  6          Q.     Okay.     But -- and so that is the scope.
  7                        Was that scope --
  8          A.     Well, it was also anticipated that if I
  9    received -- if we received a -- an affirmative
 10    report from your client's expert supporting your
 11    client's claims that we would be in a position to
 12    rebut those claims.
 13          Q.     Regarding the scope that you just
 14    articulated, did you define that scope?
 15          A.     That was defined by my counsel -- by client
 16    and counsel.
 17          Q.     So when you say "client," that would have
 18    been CTX.       Is that correct?
 19          A.     CTX, LLC.       Correct.
 20          Q.     And it would have been Mr. Cole.                Is that
 21    correct?
 22          A.     Initially, yes.
 23          Q.     Did the scope of your assignment ever
 24    change over the life of this litigation?
 25          A.     It didn't change.          It just -- part of


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 35  of 34
                                                                              Page
                                                187

  1    the -- the anticipated scope of an affirmative
  2    report from your client -- or from your expert was
  3    received would have been a rebuttal report.
  4          Q.     Did you receive a deposition notice to be
  5    here today?
  6          A.     I don't recall.
  7          Q.     I will represent to you that our office did
  8    serve a deposition notice on counsel for CTX.                      And
  9    that the deposition notice did instruct that you
 10    bring your file with you.
 11                        Were you asked to bring your file?
 12          A.     I was asked to bring my report.
 13          Q.     And you were not asked to bring your file?
 14          A.     Well, my understanding was everything that
 15    I had was already provided to you, so -- but I don't
 16    recall being asked that specifically.                   But it's
 17    possible.
 18          Q.     When I use "Circuitronix" or I said "CTX,"
 19    you were very careful to come back and say
 20    "Circuitronix, LLC."           Why is that?
 21          A.     That's who retained me.             Retained my firm.
 22          Q.     Okay.     But if I just used the word
 23    "Circuitronix," you don't think I'm talking about
 24    the LLC?
 25                        Do you think I'm talking about someone


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 36  of 35
                                                                              Page
                                                187

  1    else or trying to trick you?
  2          A.     I'm just being clear for the record.
  3          Q.     Are you aware that there's another
  4    Circuitronix operation -- and those are my words --
  5    in Hong Kong?
  6                        MS. MARTINEZ:        Objection.
  7          A.     I'm aware that there's an entity in
  8    Hong Kong -- and I don't know the formal name; I
  9    don't recall it -- that's entitled "Circuitronix."
 10    Whatever the formal name is.
 11          BY MR. MAZZOLA:
 12          Q.     Do you know that the Hong Kong entity also
 13    has "Circuitronix" in its name?
 14          A.     I believe that's correct.
 15          Q.     Let's look at Exhibit 162.              Perhaps this
 16    might refresh your recollection.
 17          A.     Sure.
 18                        MS. MARTINEZ:        162.     Right?
 19                        MR. MAZZOLA:        Yeah.
 20          A.     I'm there.
 21                        MS. MARTINEZ:        I'm going to
 22          continue counsel's prior objection
 23          yesterday regarding this document.
 24          BY MR. MAZZOLA:
 25          Q.     Have you ever seen this document?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 37  of 36
                                                                              Page
                                                187

  1          A.     I don't recall seeing this.
  2          Q.     Let me ask you this question:
  3                        After Mr. Parisi's deposition
  4    yesterday, did you speak with him?
  5          A.     Yes.
  6          Q.     What did you guys talk about?
  7          A.     I had one question for him on just the
  8    document that was in my possession.
  9          Q.     What was the document that was in your
 10    possession?
 11          A.     If you give me a moment, I'll tell you.
 12          Q.     Okay.
 13                        (Document review.)
 14          A.     I just asked him, does he feel okay.
 15          BY MR. MAZZOLA:
 16          Q.     You asked him if he feels okay, and he
 17    said, "I'm fine"?
 18          A.     He said, "I'm fine," and "Thank you for
 19    appearing in the deposition."                  That's it on the
 20    deposition.
 21          Q.     Did he talk to you about any of the
 22    questions that were asked?
 23                        MS. MARTINEZ:        Objection.
 24          A.     No.
 25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 38  of 37
                                                                              Page
                                                187

  1          BY MR. MAZZOLA:
  2          Q.     Any of the topics that were covered?
  3                        MS. MARTINEZ:        Objection.
  4          A.     No.
  5          BY MR. MAZZOLA:
  6          Q.     But you did have a conversation with him
  7    about a document that you are going to show us?
  8                        MS. MARTINEZ:        Objection.
  9          BY MR. MAZZOLA:
 10          Q.     Is that correct?
 11                        MS. MARTINEZ:        Objection.
 12          A.     Yes.
 13                        No, about the question.             And I'm
 14    looking to see what it was.              It was an allocation.
 15                        (Document review.)
 16          BY MR. MAZZOLA:
 17          Q.     What is that binder you're looking through,
 18    Mr. Mukamal?
 19          A.     This is my report with all the attachments
 20    that are referenced in the report.
 21          Q.     That's your report with the attachments
 22    that are referenced in Exhibit 151?
 23          A.     No.
 24          Q.     152?
 25          A.     No, no, no.       With some attachments relating


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 39  of 38
                                                                              Page
                                                187

  1    to references in the report.               Just a spattering of
  2    them.
  3          Q.     So it's a selection of documents that come
  4    from Exhibit 152.
  5                        Let me show you this, Mr. Mukamal.
  6                        Mr. Mukamal?
  7          A.     Yes.
  8          Q.     Is that correct?
  9          A.     Yes.
 10          Q.     So what you're looking at is a subset of
 11    the documents that are represented on Exhibit 152.
 12    Is that correct, Mr. Mukamal?
 13          A.     Of -- those are -- I'm sorry.
 14                        Let me take a look again.              I'm sorry.
 15                        Or summaries.        Yeah.
 16          Q.     Okay.     Or summaries?
 17          A.     Yeah.
 18          Q.     Okay.     So does that constitute your file?
 19          A.     Just excerpts from those documents.
 20          Q.     Are they excerpts or the whole document?
 21          A.     Just excerpts.
 22                        MR. MAZZOLA:        So perhaps at the
 23          break, counsel can make a photocopy of
 24          that.
 25                        MR. LERNER:        The entire book?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 40  of 39
                                                                              Page
                                                187

  1                        MR. MAZZOLA:        Yeah.
  2          A.     Give me a moment.          Okay?
  3          BY MR. MAZZOLA:
  4          Q.     Okay.
  5          A.     Because I don't remember what I asked him.
  6    It had to do with an allocation.                 So just give me a
  7    moment.
  8                        (Document review.)
  9          A.     It had to do with a number on Table 5
 10    relating to the waiver of a lead-time penalty.
 11          BY MR. MAZZOLA:
 12          Q.     Okay.     So two questions, maybe more.               I
 13    can't promise.         But two questions.
 14                        Where -- that document you were just
 15    looking at --
 16          A.     Right.
 17          Q.     -- that you said related to a question
 18    regarding Table 5 --
 19          A.     Right.
 20          Q.     -- in that black binder that's to your
 21    right.      Where in that black binder is it?                Was it
 22    tabbed?      Is it --
 23          A.     No.    It's just -- it was in the report.                  I
 24    circled it.        That's what I was looking for.
 25          Q.     You circled.        What did you circle?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 41  of 40
                                                                              Page
                                                187

  1          A.     I circled the number I was questioning.
  2          Q.     So that was in Table 5?
  3          A.     Yes.
  4                        I didn't see the circle before.
  5          Q.     Sir, do you have 147 in front of you, which
  6    is your expert report?
  7          A.     Yes.
  8          Q.     So the document you were looking at in your
  9    black binder was your report that you were looking
 10    at?
 11          A.     Yes.
 12          Q.     Okay.     And you were looking at Table 5 in
 13    your -- in your report that's in your black binder?
 14          A.     Yes.
 15          Q.     And on Table 5, you had a number -- Table 5
 16    relates to LTP waivers, which we understand to be
 17    lead-time penalty waivers.              And you had circled a
 18    number there.        What number was that?
 19          A.     Number 2.       Under waiver at 14.2 percent.
 20          Q.     And what did you and he talk about?
 21          A.     I asked him, I can't recall how we arrived
 22    at that number, and he reminded me.
 23          Q.     How did you arrive at that number?
 24          A.     It's an allocation of a fixed number that
 25    was provided as a waiver, as opposed to a percentage


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 42  of 41
                                                                              Page
                                                187

  1    like the other waivers were.               So it had to be
  2    allocated.
  3          Q.     So is it fair to say, then, you were
  4    reviewing this report in preparation for your
  5    testimony this morning.             As you were reviewing this
  6    report, you posed a question to yourself about this
  7    number 2 on Table 5, and you called up Mr. Parisi
  8    and asked him if he could explain to you how you
  9    arrived at it?
 10          A.     It was a reminder --
 11                        MS. MARTINEZ:        Objection.
 12                        THE WITNESS:        I'm sorry.
 13          A.     I knew it at one time; I just didn't
 14    remember it sitting there because I looked --
 15          BY MR. MAZZOLA:
 16          Q.     Mr. Mukamal, it happens to me all the time.
 17    I'm just trying to clarify what happened here.
 18          A.     That's exactly what happened.               And I needed
 19    clarification on how that number was arrived at, and
 20    I neglected to see the footnote.
 21          Q.     I'm not trying to trick you.               This is what
 22    professionals do every day.              We talk to our peers,
 23    and we try to understand things.
 24          A.     Right.     But you asked me what I talked
 25    about, and I was trying to be specific.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 43  of 42
                                                                              Page
                                                187

  1          Q.     All I was hoping it was for something more
  2    exciting than that.
  3          A.     Nothing more exciting than that.
  4          Q.     And that binder contains other excerpts and
  5    documents.       Is that correct?
  6          A.     Excerpts of exhibits that -- or items that
  7    were already listed.           Correct.
  8          Q.     So I want to get back to how -- before we
  9    went down this rabbit hole, we were looking at
 10    Exhibit 162.
 11          A.     Yes.
 12          Q.     And counsel had raised an objection as was
 13    raised yesterday.          And I was asking you questions
 14    about the Hong Kong entity.              But while you're at it,
 15    you might as well take a look at this document.
 16                        (Document review.)
 17          BY MR. MAZZOLA:
 18          Q.     Have you ever seen this document prior to
 19    this morning?
 20          A.     No.
 21          BY MR. MAZZOLA:
 22          Q.     I put this front of you, one, because you
 23    said you knew there was a Hong Kong entity, but you
 24    did not know the name of the Hong Kong entity.
 25          A.     I didn't recall the legal name of the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 44  of 43
                                                                              Page
                                                187

  1    Hong Kong entity.
  2          Q.     This is a document which I want you to
  3    assume that -- I think it's a fair assumption that
  4    this was produced by that Hong Kong entity's
  5    certified public accountants working as an auditor.
  6    Is that fair?        Is that a fair assumption?
  7                        MS. MARTINEZ:        Objection.
  8          A.     I'll assume it for purposes of your
  9    question.
 10          BY MR. MAZZOLA:
 11          Q.     Okay.     And with that said, is it a fair
 12    assumption, then, that at least these certified
 13    public accountants operating as an auditor
 14    understand the Hong Kong entity to be referred to as
 15    Circuitronix (Hong Kong) Limited?
 16          A.     That's their reference.
 17          Q.     While we're on this document, let's go to
 18    the last page of it.
 19                        If you assume for the purposes of
 20          this question that this company Jules Jiu,
 21          J-i-u.     Jules, J-u-l-e-s, J-i-u.
 22                        MR. LERNER:        "Joe."
 23                        MS. MARTINEZ:        How do you say
 24          that, Richard?
 25                        MR. LERNER:        "Joe."     Jules Jiu.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 45  of 44
                                                                              Page
                                                187

  1          BY MR. MAZZOLA:
  2          Q.     Jules Jiu & Company, Certified Public
  3    Accountants, are operating as an auditor.
  4                        Is it fair to assume, then, that
  5    insofar as they are concerned, this auditing company
  6    that they believe that Circuitronix Hong Kong owes
  7    Benlida 52.28 million Hong Kong dollars?
  8                        MS. MARTINEZ:        Objection.
  9          A.     No.
 10          BY MR. MAZZOLA:
 11          Q.     That's not fair to assume that?
 12          A.     No.
 13          Q.     Can you explain to me why that's not a fair
 14    assumption?
 15          A.     Because they're sending confirmation.                   If
 16    they believed it, they would have formed an opinion
 17    on it, not asked for a confirmation.
 18          Q.     So are they asking for Benlida to confirm
 19    if that, in fact, that was owed?
 20                        You're reading the email now.
 21          A.     Yeah.     I'm reading the email.            I just want
 22    to see that it was sent to Benlida.                  Confirmation
 23    was sent to Benlida.
 24          Q.     And do you see where the email says, "We
 25    would like to confirm the outstanding balance as of


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 46  of 45
                                                                              Page
                                                187

  1    31 December 2021 between Circuitronix and your
  2    companies."
  3                        Do you see where it says that?
  4          A.     Yes.
  5          Q.     So you don't think it's a fair assumption
  6    that if someone received this, that it's a statement
  7    insofar as the auditors are concerned that
  8    Circuitronix Hong Kong owes Benlida 52.28 million
  9    Hong Kong dollars?
 10                        MS. MARTINEZ:        Objection.
 11          A.     No.    That's what they're trying to
 12    determine.
 13          BY MR. MAZZOLA:
 14          Q.     Do you see the column in the middle on the
 15    last page?
 16          A.     Yes.
 17          Q.     Do you see where it says, "Due from you"?
 18                        What does that say?
 19          A.     "Due from you."
 20          Q.     And it says what?          What's it say below
 21    that?
 22          A.     Nil.
 23          Q.     So insofar as this document is concerned,
 24    just this document alone, it makes reference to
 25    nothing owed by Benlida.             Is that a fair assumption?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 47  of 46
                                                                              Page
                                                187

  1                        MS. MARTINEZ:        Objection.
  2          A.     I mean, that's what the document says.
  3    You're asking me to assume the document is correct.
  4          BY MR. MAZZOLA:
  5          Q.     I'm asking you to assume it's a correct
  6    document.
  7          A.     Okay.     It's a request for confirmation.
  8    They are trying to confirm whether the information
  9    their client gave them is correct or not.
 10          Q.     So they're asking Benlida to confirm that
 11    the information that Circuitronix Hong Kong gave to
 12    them is correct.          Is that correct?
 13                        MS. MARTINEZ:        Objection.
 14          A.     It's a -- an assumption on my part because
 15    that's what a confirmation normally takes care of.
 16    Or is intended to accomplish.
 17          BY MR. MAZZOLA:
 18          Q.     So --
 19          A.     I can't say.        I've never seen this document
 20    before, and I don't know the circumstances behind
 21    it, other than my assumption --
 22          Q.     Okay.     So if this auditor is asking Benlida
 23    to confirm that information provided by its client
 24    Circuitronix Hong Kong is correct, then this
 25    document is asking Benlida to confirm that, one,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 48  of 47
                                                                              Page
                                                187

  1    Benlida owed Circuitronix Hong Kong nothing.                      Is
  2    that true?
  3          A.     That's what the document suggests.
  4          Q.     Okay.     And, two, it's asking Benlida to
  5    confirm that Circuitronix Hong Kong owes it
  6    52.287 million Hong Kong dollars.                 Is that true?
  7          A.     Well, I don't know if it's true, but that's
  8    what the document indicates.
  9          Q.     Okay.     But assuming that these auditors are
 10    reasonably good and assuming that they got the
 11    information from Circuitronix Hong Kong, is this
 12    something that someone might rely on if they
 13    received it?
 14                        MS. MARTINEZ:        Objection.
 15          A.     I don't know what that means, "someone."
 16          BY MR. MAZZOLA:
 17          Q.     Would Benlida rely on it if they received
 18    it?
 19          A.     I don't really know what that means.
 20                        They're asking, I believe, Benlida to
 21    confirm.      Am I misunderstanding this?               This is --
 22    they're asking -- I'm sorry.               ROK.
 23                        I'm on the wrong page.
 24          Q.     Okay.
 25          A.     They're asking ROK to confirm the numbers


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 49  of 48
                                                                              Page
                                                187

  1    that Hong Kong -- I'm sorry -- that Circuitronix
  2    Hong Kong records may show as a receivable or a
  3    payable.
  4          Q.     Okay.     Let me ask you this next question.
  5    It's a hypothetical.
  6          A.     Sure.
  7          Q.     A kid shows up to mow your lawn.                He's been
  8    doing it for a long time.              You don't know the kid
  9    that well because maybe you have a grown son or
 10    another family member or wife or spouse that has
 11    been dealing with this kid every week that cuts your
 12    lawn.      You show up.       No one else is home.           He's just
 13    finishing the lawn, and you say to him, Let me
 14    confirm it's a hundred bucks to cut my lawn.
 15                        Do you think it would be reasonable,
 16    one, for that kid to assume that you're agreeing to
 17    give him 100 bucks if he says yes?
 18                        MS. MARTINEZ:        Objection.
 19          A.     I don't know.
 20          BY MR. MAZZOLA:
 21          Q.     Do you think it would be reasonable for
 22    that kid to assume that you believed the cost of
 23    cutting the lawn was 100 bucks?
 24                        MS. MARTINEZ:        Objection.
 25          A.     It may or may not be.             I mean, it could


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 50  of 49
                                                                              Page
                                                187

  1    be -- it could mean a lot of things.
  2          BY MR. MAZZOLA:
  3          Q.     Mr. Mukamal, that was the softest softball
  4    I could lob up.         So how come that can't be a yes
  5    answer?
  6          A.     Because you're asking it in a hypothetical
  7    situation.       You're saying someone that never --
  8    never dealt with this person before.                  Maybe he's
  9    testing the person to see if he's overcharging or
 10    not overcharging.          It's a facts-and-circumstances
 11    based issue.
 12          Q.     So your answer is you don't know?
 13                        MS. MARTINEZ:        Objection.
 14          A.     Not without more facts.
 15          BY MR. MAZZOLA:
 16          Q.     Not without more facts.             Right?
 17          A.     Right.
 18          Q.     There's a lot of facts in this case,
 19    though.      Right?
 20          A.     There's a lot of facts in every case.
 21          Q.     Let's look at Exhibit 62, please.                 And that
 22    was the Third Amended Complaint.
 23          A.     Yes.
 24          Q.     And you did review this complaint.                 Right?
 25          A.     Yes.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 51  of 50
                                                                              Page
                                                187

  1                        MS. MARTINEZ:        Objection.
  2                        THE WITNESS:        Sorry.
  3          A.     I read it.
  4          BY MR. MAZZOLA:
  5          Q.     And you would have read the whole thing as
  6    part of your preparations?
  7                        And it's okay if you don't say every
  8    line because I understand there's a lot.                    Yeah.
  9          A.     Not every line, because you have invoices
 10    listed.
 11          Q.     Yes.    Okay.
 12                        But at some point, you would have
 13    reviewed invoice numbers.              Right?
 14                        Judgmentally, you would have taken a
 15    look at some invoices?
 16          A.     Or I would have instructed someone to.
 17          Q.     Okay.     Let's look at -- let's look at -- I
 18    don't know; how do I do this now?
 19                        I'm going to pull some stuff up on the
 20    screen.      I don't think it's been introduced yet.
 21                        So we're looking at -- 151 is the
 22    exhibit.      That's the master list, Mr. Mukamal, that
 23    we talked about.          And I'm going to scroll down to the
 24    folder that says "Benlida Complaint Invoices."                       And
 25    there's another folder that says "Invoices."


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 52  of 51
                                                                              Page
                                                187

  1                        Do you see those two folders?
  2          A.     On the screen.
  3          Q.     Okay.     Now, these items would have been
  4    provided to you from counsel.                  That's correct?
  5          A.     I think they were provided to Mr. Parisi
  6    through counsel, and it was filed in our system.
  7          Q.     Let's look at these invoices.               I click into
  8    the Invoice folder, and I'm going to pull up an
  9    invoice here.
 10                        Do you see this invoice?
 11          A.     Yes.
 12          Q.     Let's mark this as Exhibit --
 13                        MR. MAZZOLA:        Are you making a
 14          list, Richard?
 15                        MR. LERNER:        Yes.
 16          BY MR. MAZZOLA:
 17          Q.     This is a commercial invoice.               I'll
 18    represent that it's a Benlida invoice, and it's for
 19    the total amount of $44,246.73.
 20                        Do you see that, Mr. Mukamal?
 21          A.     I do.
 22          Q.     It's dated 12 April 2019.              And it's got an
 23    invoice number ending in 2001.
 24                        Would this invoice have been reviewed
 25    in preparation of the report?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 53  of 52
                                                                              Page
                                                187

  1                        MR. MAZZOLA:        I beg your pardon,
  2          everyone.      It goes on for more pages.
  3          BY MR. MAZZOLA:
  4          Q.     It's five pages.
  5                        It would have been.           Right?
  6          A.     It would have been reviewed as part of a --
  7    usually, we spot-check invoices.
  8          Q.     Okay.
  9          A.     I don't know what Mr. Parisi did in total.
 10    I don't know what his scope was, sitting here.
 11          Q.     Well, let me ask you this question.                  You're
 12    looking at that complaint.              And that complaint's got
 13    a lot of invoice numbers referenced.                  Right?
 14          A.     Correct.
 15          Q.     This folder -- Mr. Mukamal, this folder
 16    that's identified "Invoices" from Exhibit 151
 17    contains only three invoices.                  Is that fair to say,
 18    or do you want me to open them all up?
 19          A.     That folder contains three invoices.
 20          Q.     Okay.     And you know that because of the way
 21    the invoice numbering convention is the same.                      You
 22    can assume that.          Right?
 23          A.     Yes.
 24          Q.     So my question is, how did you just end up
 25    with three invoices if there's hundreds of invoices


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 54  of 53
                                                                              Page
                                                187

  1    referenced in the complaint -- third amended
  2    complaint?
  3          A.     So this is work that Mr. Parisi did.                  I
  4    would assume you would have asked him about that
  5    yesterday.       And I assume that these are the
  6    documents -- these are the invoices we looked at to
  7    test the existence of the invoices.
  8          Q.     Let's look at Benlida Complaint Invoices.
  9    That's another folder.            Now, this, of course, has
 10    more invoices in it.
 11          A.     Can I -- can you open one up?
 12          Q.     Yeah.     Let's open up this folder 2.
 13                        Do you know why the folders are
 14    separate like that, what the SS folder represented?
 15          A.     It means superceded.              We may have had an
 16    issue with it electronically or otherwise, and it
 17    was replaced.
 18          Q.     So let's open up this invoice that's
 19    numbered BLDCCT-HK.
 20          A.     Right.
 21          Q.     And I open it up.          This is an invoice --
 22                        MR. MAZZOLA:        And, Rebecca, I'm
 23          going to go back for a second to fix it
 24          because I didn't read the whole number in.
 25          Is that okay?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 55  of 54
                                                                              Page
                                                187

  1                        MS. MARTINEZ:        Yeah.     For the
  2          previous.
  3                        MR. MAZZOLA:        For the previous.
  4                        MS. MARTINEZ:        For Exhibit 166.
  5                        (Deposition Exhibit 166
  6                        marked for identification.)
  7          BY MR. MAZZOLA:
  8          Q.     Mr. Mukamal, so the record's clear, I said
  9    this invoice that we're going to open up says
 10    BLDCCT-HK and the number is 19080602.
 11                        MS. MARTINEZ:        Are you going to
 12          make that a new exhibit, JC?
 13                        MR. MAZZOLA:        Yeah.     Why not?
 14                        MS. MARTINEZ:        Okay.     That will
 15          be Exhibit 167, then.
 16                        (Deposition Exhibit 167
 17                        marked for identification.)
 18          BY MR. MAZZOLA:
 19          Q.     So here is this exhibit -- invoice.
 20                        Do you see this invoice?
 21          A.     Yes.
 22          Q.     Now, this is an invoice from Benlida.
 23                        Do you see that?
 24          A.     Yes.
 25          Q.     This invoice is addressed to Circuitronix


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 56  of 55
                                                                              Page
                                                187

  1    (Hong Kong) Limited.
  2                        Do you see that?
  3          A.     Yes.
  4          Q.     Did you review this invoice?
  5          A.     Did I?     Likely not.
  6          Q.     When I say "you," oftentimes -- okay? --
  7    and I should correct this.              "You" means the
  8    Kapila --
  9          A.     Kapila.
 10          Q.     -- Kapila Mukamal team.
 11          A.     It could have been reviewed but not
 12    utilized.
 13          Q.     Okay.     But if it's in these materials,
 14    these are documents that would have been reviewed?
 15          A.     Right.
 16                        So with respect to this group of
 17    documents, I suspect what you are looking at are
 18    those documents that we selected to review.                     Whether
 19    they were reviewed or not in anticipation -- I don't
 20    know to what extent they were reviewed.                    Mark Parisi
 21    would have done that.
 22                        To the extent we received an
 23    affirmative report from your expert that addressed
 24    the complaint -- the third amended complaint.
 25          Q.     Does anyone at your office understand


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 57  of 56
                                                                              Page
                                                187

  1    Chinese?
  2          A.     No.
  3          Q.     How about read it?
  4          A.     Not to my knowledge.
  5          Q.     Okay.     So what would your office have done
  6    if there were documents in Chinese?                  Who would have
  7    helped translate that?
  8          A.     We would have looked at amounts on the
  9    invoice and shipping addresses -- you know,
 10    receiving addresses and who issued the invoice.                       It
 11    also has part numbers and number of pieces there, so
 12    it's an invoice.
 13                        MR. MAZZOLA:        And to clean up the
 14          record, Christina, because I just noticed
 15          there are multiple tabs down here.                 Do you
 16          see me playing through them over here?
 17                        MS. MARTINEZ:        Um-hmm.
 18          BY MR. MAZZOLA:
 19          Q.     Mr. Mukamal, the document that was in front
 20    of you, we were asking questions about, is actually
 21    a packing list.         Okay?
 22          A.     Oh.
 23          Q.     If you look at -- if you look at the
 24    bottom, there's something -- there's a tab that says
 25    "DC."      And we're still on Exhibit 167.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 58  of 57
                                                                              Page
                                                187

  1                        There's another tab that says "PL,"
  2    which we can presume is packing lists.                   There's
  3    another tab, which says "Invoice," which we can
  4    presume is invoice.           It says "INV" and then "PO,"
  5    purchase order.
  6                        So let's go back to the invoice.                 So
  7    this is a document, which is a -- we're at the
  8    invoice tab.        Right, Mr. Mukamal?
  9          A.     Yes.
 10          Q.     And this invoice has an invoice number.
 11                        Do you see that?
 12          A.     Yes.
 13          Q.     It says "BLDCCT-HK19080602."               Right?
 14          A.     Yes.
 15          Q.     Do you know what the "HK" is there for?
 16          A.     It's an identification of the purchaser of
 17    the product.
 18          Q.     So by identifying the purchaser of the
 19    product, does that mean they're identifying
 20    Circuitronix (Hong Kong) Limited., as you see on the
 21    left of this commercial invoice, as the purchaser of
 22    the product?
 23          A.     That's what it appears to be.
 24          Q.     Okay.     Let's go back to the folder at 151
 25    exhibit -- Exhibit 151, the folder that says


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 59  of 58
                                                                              Page
                                                187

  1    "Invoices."
  2                        You recall we just looked at that.
  3    Right, Mr. Mukamal?
  4          A.     Yes.
  5          Q.     And we're going to open up the invoice we
  6    opened up before, which is invoice 166 --
  7    Exhibit 166.        And this is the invoice dated 12th
  8    April 2019.        This invoice has an invoice number,
  9    too.     Right, Mr. Mukamal?
 10          A.     Yes.
 11          Q.     And this invoice number has no reference to
 12    "HK" on it.        Is that correct, Mr. Mukamal?
 13          A.     Correct.
 14          Q.     And this invoice from Benlida with no
 15    reference to HK on it, Mr. Mukamal, is addressed to
 16    Circuitronix here in the United States.                    Is that
 17    correct?
 18          A.     That's what it says.
 19          Q.     I assume because you guys have these
 20    documents, and I also assume that because you have
 21    the complaint, that in the complaint, where Benlida
 22    is suing Circuitronix, LLC, and they make reference
 23    to a Hong Kong invoice -- an invoice with "HK" on
 24    it, that they're looking to Circuitronix, LLC, to
 25    pay that invoice.          Is that a fair assumption,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 60  of 59
                                                                              Page
                                                187

  1    Mr. Mukamal?
  2          A.     It's a fair lay assumption.
  3                        I don't even know if it's an
  4    assumption.        You're asking for these invoices
  5    related to your client's claim.
  6          Q.     But as you look through the complaint,
  7    because I know you -- someone on your team looked at
  8    these invoices.         Right?
  9          A.     Yes --
 10                        MS. MARTINEZ:        Objection.
 11                        THE WITNESS:        I'm sorry.
 12          A.     To what extent, I don't know.
 13          BY MR. MAZZOLA:
 14          Q.     Okay.     But someone would have looked at
 15    them.      Right?
 16                        MS. MARTINEZ:        Objection.
 17          BY MR. MAZZOLA:
 18          Q.     Is that correct?
 19          A.     To my -- that's to the best of my
 20    knowledge.
 21          Q.     And someone -- I think it's fair to assume
 22    because you just did it in about 12 seconds -- would
 23    have been able to conclude that if there's an "HK"
 24    in the invoice number, that invoice is looking to
 25    Circuitronix Hong Kong.             It's sent to Circuitronix


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 61  of 60
                                                                              Page
                                                187

  1    Hong Kong.       Right?      Is that correct?
  2                        MS. MARTINEZ:        Objection.
  3                        I can pull that one up for you.
  4          Do you want me to do that?
  5          A.     Sure.     I'm not sure I understand your
  6    question, but I'll do the best I can.
  7          BY MR. MAZZOLA:
  8          Q.     Okay.     This is 167 we're looking at.               Last
  9    time we looked at this, I asked you what the HK was
 10    for.     And I think in all of about six seconds, you
 11    were able to conclude that the "HK" meant that
 12    Benlida -- Benlida -- was looking to Circuitronix
 13    Hong Kong Limited to pay it.
 14                        MS. MARTINEZ:        Objection.
 15          BY MR. MAZZOLA:
 16          Q.     Is that still your testimony now?
 17          A.     That's what it appears to be.
 18          Q.     Okay.     And now we're going to look at 166.
 19    And here I think it took you maybe eight seconds to
 20    conclude that where there's no "HK" on it, Benlida's
 21    looking to Circuitronix, LLC, here in Florida to pay
 22    it.    Is that still your testimony?
 23                        MS. MARTINEZ:        Objection.
 24          A.     They issued an invoice to that entity.
 25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 62  of 61
                                                                              Page
                                                187

  1          BY MR. MAZZOLA:
  2          Q.     When you issue an invoice to someone,
  3    you're expecting that person to pay it.                    Right?
  4          A.     I assume so.        But I'm not sure what you're
  5    asking.
  6          Q.     Well, the question I'm asking is, the
  7    complaint by Benlida suing Circuitronix, LLC, here
  8    in Florida, you know it because you looked at it,
  9    also contains invoices that have the "HK" numbering
 10    conventions.        Is that correct?
 11          A.     I believe that's a fact.
 12          Q.     Okay.     That is a fact.
 13                        So in reviewing this complaint, whether
 14    or not Benlida wins, whether or not a judge says they
 15    win, whether or not a jury says it wins, those are
 16    all legal issues.          You don't do that; you do
 17    accounting things.
 18                        Is it fair to assume, looking at this
 19    as an accountant, that Benlida, whether they're right
 20    or wrong, is looking to Circuitronix here in Florida
 21    to pay those Hong Kong invoices.                 Is that a fair
 22    assumption?
 23                        MS. MARTINEZ:        Objection.
 24          A.     I think that's the positions they're
 25    taking.      But to me, it's a legal determination


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 63  of 62
                                                                              Page
                                                187

  1    whether this indicates what you said.                   Whether
  2    that's legally sufficient, what it means from a
  3    legal standpoint.
  4                        But the fact of the matter -- all I'm
  5    saying is, they included invoices that include
  6    Benlida and Hong Kong in the complaint, that -- a
  7    reference to Benlida and Hong Kong in the
  8    complaint --
  9          BY MR. MAZZOLA:
 10          Q.     But --
 11          A.     -- that's all I can say.
 12                        You're asking me to draw a conclusion
 13    from that, but I'm not going to.
 14          Q.     But you did review it.
 15          A.     Yeah.     I saw the --
 16          Q.     So in reviewing this complaint, you and
 17    your team would have been aware that Benlida was
 18    looking to Circuitronix here in the U.S. to pay
 19    invoices issued to Circuitronix Hong Kong.                     Yes or
 20    no.
 21                        MS. MARTINEZ:        Objection.
 22          A.     So you're asking whether Benlida was
 23    asking --
 24          BY MR. MAZZOLA:
 25          Q.     No.    No.    I'm asking you --


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 64  of 63
                                                                              Page
                                                187

  1          A.     Yeah.
  2          Q.     -- if you or your team, in reviewing this
  3    complaint --
  4          A.     Right.
  5          Q.     -- knew that Benlida was looking to the
  6    U.S. Circuitronix, LLC, to pay invoices owed by
  7    Circuitronix Hong Kong?
  8                        MS. MARTINEZ:        Objection.
  9          A.     I can only surmise.           They include it in a
 10    list of invoices.          Whether that's legally sufficient
 11    or not to draw that conclusion, I can't give an
 12    opinion on that.
 13          BY MR. MAZZOLA:
 14          Q.     But from reading this, you know that
 15    they're, at a minimum, looking to Circuitronix, LLC,
 16    to pay those debts of Circuitronix Hong Kong.
 17                        MS. MARTINEZ:        Objection.
 18          A.     I can only assume.
 19          BY MR. MAZZOLA:
 20          Q.     Are you assuming yes or assuming no?
 21          A.     I can only assume that they're looking to
 22    collect these invoices on their -- attached to the
 23    complaint.
 24          Q.     You can assume --
 25          A.     Whether they're Hong Kong, otherwise,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 65  of 64
                                                                              Page
                                                187

  1    whether they're third-party invoices or not, I'm
  2    not -- this was not relevant to my opinions.
  3          Q.     Because some days, I'm happy with a sloppy
  4    transcript.        Other days, I want a really clean,
  5    crisp one.
  6          A.     Yes.
  7          Q.     Today I'm in clean, crisp mode.                So --
  8          A.     Aren't I lucky?
  9                        MR. ROSENTHAL:         It's the bow tie.
 10                        MR. MAZZOLA:        It's the bow tie.
 11          BY MR. MAZZOLA:
 12          Q.     So you can assume, yes, that Benlida is
 13    looking to Circuitronix here in the U.S. to pay the
 14    debts of Circuitronix Hong Kong?                 Can you assume yes
 15    to that?
 16          A.     I'm not so sure I can.
 17                        I mean, the complaint has a list of
 18    invoices.       The circumstances that surround those
 19    invoices and why they're on the list is -- I could
 20    only surmise at this point.
 21          BY MR. MAZZOLA:
 22          Q.     How about this:
 23                        At a minimum, can you assume -- well,
 24    when you say "surmise," what does that mean?
 25                        You can surmise what?            Can you surmise


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 66  of 65
                                                                              Page
                                                187

  1    yes or surmise no?
  2          A.     I can surmise that these are the invoices
  3    that are attendant to the complaint.                  And I need to
  4    look at the operative paragraph.
  5          Q.     Are you looking at your report or the
  6    complaint?
  7          A.     The complaint.
  8                        These are the invoices that support
  9    the claims of your client.              That's all I can say.
 10          Q.     And these are the invoices that Benlida is
 11    looking to get paid on.
 12                        Can you agree to that?
 13                        MS. MARTINEZ:        Objection.
 14          A.     They are claiming they're owed.
 15          BY MR. MAZZOLA:
 16          Q.     Okay.     Okay.
 17                        MR. LERNER:        We need a break.
 18                        MR. MAZZOLA:        Who needs a break?
 19                        MR. LERNER:        Me.
 20                        MR. MAZZOLA:        For real?
 21                        Is that okay?
 22                        MS. MARTINEZ:        Yes.
 23                        (Off record:        11:54 a.m. to 12:05 p.m.)
 24          BY MR. MAZZOLA:
 25          Q.     Mr. Mukamal, let's look at Exhibit 147.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 67  of 66
                                                                              Page
                                                187

  1          A.     Yes.
  2          Q.     This is -- this is your report.                Is that
  3    correct?
  4          A.     Yes.
  5          Q.     Now, it's got your name and Mr. Parisi's
  6    name on it.
  7          A.     Yes.
  8          Q.     Just give me a sense -- and I spoke to
  9    Mr. Parisi about this yesterday.                 But give me a
 10    sense of how the work was divided between you and
 11    Mr. Parisi.
 12          A.     Yes.    I decided for efficiency sake --
 13                        (Telephonic interruption.)
 14                        THE WITNESS:        I thought I put
 15          this on Focus.         I'm sorry.
 16          A.     So for not only efficiency, but to avoid
 17    duplication, because I knew that, you know, the
 18    data -- I surmised, at the time, the data would be
 19    dense and would have to be mined and reformatted,
 20    that he would handle that.              He's been -- he was with
 21    the firm for a long time, and we -- I grew
 22    accustomed to his competence in this area.
 23                        And it was a lot of data to have to
 24    sort through.        And we divide -- I let him deal with
 25    that aspect -- or I instructed him -- I'm sorry --


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 68  of 67
                                                                              Page
                                                187

  1    to deal with that aspect.
  2                        I was involved in just the
  3    architect -- initially, the architecture of the
  4    whole engagement, and was involved in identifying
  5    what I thought the issues were that needed to be
  6    addressed and then reviewing the data afterwards,
  7    after it was cleaned up, and arriving -- and
  8    accepting the opinion --
  9          Q.     In arriving --
 10          A.     Arriving at opinions that we jointly agreed
 11    upon and accepted.
 12          Q.     I think you said you saw yourself as the
 13    architect to identify the issues.
 14          A.     Basically the work plan.             To identify the
 15    work plan.
 16                        But it really had to be done in
 17    conjunction with what the data -- how the data was
 18    presented and what data needed to be mined.                     It
 19    was -- it was a joint, overlapping effort but
 20    required technical skills that he was better -- he
 21    was more adept at.
 22          Q.     What do you mean "technical skills"?
 23                        What is he more adept at than you?
 24          A.     He created a database that needed to be
 25    created in order to do -- derive the information


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 69  of 68
                                                                              Page
                                                187

  1    that he did in the report.
  2          Q.     And you described yourself as the architect
  3    that identified issues.             Is that what -- is that
  4    correct?
  5          A.     If that's what I said, that's what I said.
  6          Q.     As the architect identifying issues, what
  7    were the -- well, what time in the process did you
  8    first identify issues?
  9          A.     When I say "issues," I'm talking more about
 10    what the work plan is and what we were -- what our
 11    opinions were going to encompass.
 12          Q.     Did you start the process with any
 13    assumptions?
 14                        Do you know what I mean by that?
 15          A.     I know what you mean by it, but I really
 16    didn't have any assumptions.
 17                        I mean, to me, this was a
 18    reconciliation process that involved a lot of data
 19    that needed to be understood.                  And that's what we
 20    focused on is the reconciliation.
 21          Q.     Is it fair to say, though, that because
 22    you're working for Circuitronix that you have these
 23    initial meetings with clients and counsel.                     After
 24    those initial meetings with client and counsel, did
 25    you form any preliminary assumptions -- or did you


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 70  of 69
                                                                              Page
                                                187

  1    form any preliminary assumptions, and if so, what
  2    were they?
  3          A.     I didn't have any preliminary assumptions.
  4    I was trying to reconcile between your client and
  5    Circuitronix, my client.
  6          Q.     Was that --
  7          A.     Well, reconcile the numbers.               I mean, we
  8    had to understand the reconciliations that occurred,
  9    and that's what our focus was.
 10          Q.     Was that your instructions, marching order
 11    brief, if you will, to reconcile a set of numbers?
 12                        MS. MARTINEZ:        Objection to the
 13          extent it includes confidential
 14          attorney-client communications.
 15          A.     I don't think client -- counsel gave me
 16    instructions up front, other than to understand what
 17    the differences were between the parties.
 18          BY MR. MAZZOLA:
 19          Q.     But naturally, you know, we didn't go
 20    through your record and your experience, and --
 21    because I think that's a waste of time with you.
 22    And I don't mean that in a pejorative sense because
 23    I now it's there.
 24                        But what I'm getting at is you -- this
 25    is not your first time.             You've done this many, many,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 71  of 70
                                                                              Page
                                                187

  1    many, many times.          And initially, these things start
  2    off with the client saying, Hey, this is what I think
  3    I'm owed.       Or, Hey, this guy took this kind of money
  4    from me.
  5          A.     Yeah.     I don't recall a conclusion being
  6    presented to me up front.              My role initially was to
  7    understand what your client's position was and what
  8    our client's position was vis-à-vis the
  9    reconciliations that were provided.
 10          Q.     Those were the recon -- the CTX recon and
 11    the Benlida recon.           Right?
 12          A.     The two Benlida responses to the
 13    Circuitronix reconciliation.
 14          Q.     Your report makes reference to just the two
 15    recons.
 16                        So before we go forward, let's just --
 17          A.     Well, the second reconciliation was just
 18    them correcting what they believe were corrections
 19    to the first one, if I recall.
 20          Q.     Okay.     Well, let's --
 21          A.     In other words, there was a supplemental
 22    response by your client four or five days after the
 23    one they first sent.
 24          Q.     Okay.     So if there were two reconciliations
 25    sent by Benlida, it sounds like what you just said


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 72  of 71
                                                                              Page
                                                187

  1    that you recall them being close in time and that
  2    there was a -- somehow a merger of those two
  3    reconciliations.
  4          A.     Yeah.     That's how I remember it.
  5          Q.     Okay.     Let's look at your report.              Let's
  6    hit page 3.
  7          A.     Okay.
  8          Q.     And I probably should have looked at this
  9    before with you, Mr. Mukamal, because it does say --
 10    at the bullet points under paragraph 1, it gives
 11    your instructions.           You were retained by legal
 12    counsel.
 13                        Do you see that at paragraph 1?
 14          A.     I do.
 15          Q.     And it has the two bullet points.
 16          A.     Correct.
 17          Q.     And you guys wrote this:             I'm not putting
 18    words in your mouth.
 19                        It says you were retained by legal
 20    counsel to do two discrete items, as I understand.
 21    And I guess that is correct.               Right?
 22          A.     That's correct.
 23          Q.     And those two discrete items are the ones
 24    identified in the bullet points of paragraph 1 of
 25    your report.        Right?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 73  of 72
                                                                              Page
                                                187

  1          A.     That's correct.
  2                        That's different than what I just told
  3    you before, a few minutes ago.
  4          Q.     And one was to analyze the accounts payable
  5    reconciliation prepared by Benlida and CTX as of
  6    July 31, 2019?
  7          A.     Yes.
  8          Q.     And my question is, when this instruction
  9    came from counsel, did it come after discussions,
 10    after strategizing?
 11                        I don't know -- I don't want to know
 12    what was said or happened at those meetings, but was
 13    it a process?        You met with them; you talked, went
 14    back, looked at some documents.                And then at that
 15    point, there was a final decision to say we're going
 16    to look at the accounts payable reconciliations
 17    prepared by Benlida and CTX.
 18                        MS. MARTINEZ:        Again, objection
 19          to the extent it covers counsel and expert
 20          witness privileged communications.
 21                        I'll instruct you to answer other
 22          than those.
 23                        THE WITNESS:        Sure.
 24          A.     I could just tell you the process. I mean,
 25    in 2022, we originally met and just discussed what


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 74  of 73
                                                                              Page
                                                187

  1    the matter was about and what the issues -- not even
  2    what the issues are.           Like, what we would have to
  3    do, how to develop, as I said, a work plan.                     And I
  4    think the work plan was decided by me, in
  5    paragraph 1 of my report, as being the necessary
  6    information that we would have to embark to
  7    validate.
  8          BY MR. MAZZOLA:
  9          Q.     So you made this decision that these would
 10    be the two things that you would cover?
 11          A.     Well, ultimately, I?
 12                        Did.     I mean -- and it could have been
 13    in consultation with counsel and client at the time.
 14    I mean, there were conversations.                 I just don't
 15    recall specifically the time frames.                  And, like I
 16    said, there's a start and stop to this litigation.
 17    I don't recall how far we got originally before
 18    there was a stay on the litigation, so ...
 19          Q.     But, in any event, that -- at that first
 20    bullet point, you talk about reconciliations
 21    prepared by Benlida.           And then you have "and CTX."
 22                        But there is a footnote to that CTX.
 23    Do you see that?
 24          A.     Yes.
 25          Q.     And that footnote only refers -- identifies


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 75  of 74
                                                                              Page
                                                187

  1    that you're only referring to Circuitronix, LLC.
  2                        Do you see that?
  3          A.     Yes.
  4          Q.     And you know Circuitronix, LLC, is what we
  5    sometimes call "Circuitronix U.S."                 Is that right?
  6          A.     I've heard it referred to that.
  7          Q.     So at some point, there was a conscious
  8    decision to just look at the reconciliations as
  9    they're related between Benlida and the U.S.
 10    operation.       Is that correct?
 11          A.     That was our understanding of what was in
 12    the complaint.
 13          Q.     But you did look at the complaint -- the
 14    third amended complaint.             We talked about this
 15    earlier.      You don't have to look at it now.                 We
 16    talked about that earlier.
 17                        Do you recall?
 18          A.     Yes.    And you recall I was trying to get
 19    you to make an assumption.              I'm not sure you made
 20    it, but Rebecca, this nice lady, wrote it all down.
 21                        But in that complaint, at a minimum,
 22    Benlida is making allegations about Hong Kong
 23    invoices.       You've got to agree to that.               Right?
 24                        MS. MARTINEZ:        Objection.
 25          A.     Hong Kong -- HK invoices were referenced.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 76  of 75
                                                                              Page
                                                187

  1    In what context is beyond the scope of what I was
  2    asked to opine on.
  3          BY MR. MAZZOLA:
  4          Q.     So you were only asked to opine on the --
  5    the U.S. side.         Is that correct?
  6          A.     I was asked to opine on the reconciliations
  7    that were done between Circuitronix and your client.
  8          Q.     But only those --
  9          A.     And identify what those differences were.
 10          Q.     But the reconciliations you were asked to
 11    opine on only related to the U.S. side insofar as
 12    Circuitronix was concerned.
 13          A.     I don't recall that specific direction.
 14          Q.     Okay.     But you wrote over here that you're
 15    looking at reconciliations prepared by Benlida and
 16    CTX U.S. only.         Is that right?
 17                        MS. MARTINEZ:        Objection.
 18          A.     That's what I wrote.              Yes.
 19          BY MR. MAZZOLA:
 20          Q.     Do you think it would have made more sense
 21    to get a fuller picture to look at -- do you think
 22    it would have made more sense to enable you to get a
 23    fuller picture to look at -- when looking at the CTX
 24    side to look at the CTX and the Hong Kong side?
 25                        MS. MARTINEZ:        Objection.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 77  of 76
                                                                              Page
                                                187

  1          A.     Fuller picture of what?             I'm not sure I
  2    understand the question.
  3          BY MR. MAZZOLA:
  4          Q.     The total amounts outstanding.                The total
  5    amounts owed between everyone.
  6          A.     No.    My -- my charge was to determine the
  7    balance between Circuitronix -- what was owed
  8    between Circuitronix, LLC, and Benlida.
  9          Q.     So no one ever gave you any instructions to
 10    look at anything that might be owed between
 11    Circuitronix Hong Kong and Benlida?
 12                        MS. MARTINEZ:        Objection.
 13          A.     I don't recall what the instructions were
 14    during the earlier litigation before it was stayed.
 15          BY MR. MAZZOLA:
 16          Q.     Did you ever -- did you ever go back and
 17    think it might make sense based upon -- as you're
 18    going through everything, to look at those Hong Kong
 19    numbers?
 20          A.     No.
 21          Q.     Did you ever see this document?                This is an
 22    exhibit that we previously marked as Exhibit 121.
 23                        The interesting stuff is at the
 24    paragraphs A, B, and C.
 25          A.     I don't recall seeing this.              I may have.         I


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 78  of 77
                                                                              Page
                                                187

  1    don't know.
  2          Q.     Is this a document that would have been
  3    provided to you?
  4          A.     I don't know.
  5          Q.     Do you see who's writing that email?
  6          A.     Yes.
  7          Q.     And that's Rishi.          Rishi Kukreja.         Right?
  8          A.     Yes.
  9          Q.     And in that email, he writes, "For Benlida
 10    CTX HK, we owe Benlida" -- and he's referring to
 11    U.S. dollars -- "$8.843 million."
 12                        Do you see that?
 13          A.     Are you talking about -- oh.               You're
 14    talking about C.
 15          Q.     A.
 16          A.     Oh, A.     Oh.    8.843.      Sorry.     I'm reading
 17    three.
 18                        Give me a moment.
 19                        (Document review.).
 20          A.     Yes.    I see that.
 21          BY MR. MAZZOLA:
 22          Q.     And you also see at B, where Rishi's then
 23    saying that -- I think we can assume what he's
 24    meaning there, for CTX USA Benlida owes us
 25    $5.723 million.         Right?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 79  of 78
                                                                              Page
                                                187

  1                        MS. MARTINEZ:        Objection.
  2          A.     Yes.
  3          BY MR. MAZZOLA:
  4          Q.     Okay.     That's a fair assumption, that's
  5    what he's saying.          Right?
  6          A.     That's what it -- you read what's on the
  7    email.
  8          Q.     And the next one, he's talking about ROK
  9    owing $3.37 million.           Right?
 10          A.     Yes.
 11          Q.     So on the one hand, Rishi's talking about
 12    he, his entities -- that's my words, you don't have
 13    to agree with that -- but his entities saying that
 14    they owe Benlida $8.843 million out of Hong Kong.
 15    Right?
 16          A.     For Hong Kong.         For CTX Hong Kong.
 17          Q.     Yeah.     And then he talks about the credit
 18    for U.S., and he talks about the credit that ROK
 19    owes.      Right?
 20          A.     Yes.
 21          Q.     And then he writes in red -- I don't know
 22    why he picked red -- but he talks about an all in
 23    all.     All in all.       That means he's adding up all the
 24    numbers together, and he concludes that Benlida
 25    owes -- and ROK owes him $256,000.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 80  of 79
                                                                              Page
                                                187

  1                        Do you see that?
  2          A.     That's what it says.
  3          Q.     So insofar as Rishi was concerned on
  4    July 29th, 2019 -- and I'm not commenting on -- and
  5    I'm not asking you to comment on the accuracy of the
  6    numbers -- but at least that amendment, insofar as
  7    Rishi was concerned, is it fair to say that Rishi
  8    was treating all these numbers together
  9    collectively?
 10                        MS. MARTINEZ:        Objection.
 11          BY MR. MAZZOLA:
 12          Q.     Is that fair to say?
 13          A.     No.
 14          Q.     No.    Even though he wrote that down.
 15          A.     Well, that's your interpretation of this
 16    email.      I can interpret it another way.
 17          Q.     Okay.     So you don't think that's a fair
 18    interpretation?
 19          A.     I think that's your interpretation.
 20          Q.     Give me another interpretation.
 21          A.     He clearly delineated between three
 22    separate entities here.
 23          Q.     But he groups all the numbers together.
 24          A.     Well, he groups it up because he's sending
 25    it to one entity.          He's sending it to the bookkeeper


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 81  of 80
                                                                              Page
                                                187

  1    for Benlida, who was dealing with all three
  2    entities.
  3          Q.     Do you think Rishi is treating them all,
  4    the Hong Kong entity and the U.S. entity, as related
  5    parties?
  6                        MS. MARTINEZ:        Objection.
  7          A.     What's your definition of "related
  8    parties"?
  9          BY MR. MAZZOLA:
 10          Q.     What is your definition of "related
 11    parties" from an accounting perspective?
 12          A.     From an accounting perspective, related
 13    parties are parties that have a relationship amongst
 14    each other to some extent.              And it depends what that
 15    is -- what that is.
 16          Q.     And it's one of the factors you look at as
 17    common control.         Right?
 18          A.     Common control could be indicative of
 19    related party.
 20          Q.     Common ownership could be indicative of
 21    related parties.          Right?
 22          A.     If there's a control element, yes.
 23          Q.     Common, combined, commingling in
 24    accounting -- I shouldn't say that.                  Strike that.
 25                        Combined accounting could be an


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 82  of 81
                                                                              Page
                                                187

  1    indication of related parties?
  2          A.     You need to define that.              I don't know what
  3    that means, so be specific.
  4          Q.     Well, you put the two related parties
  5    together, as Mr. Kukreja did.                  You add up the
  6    numbers, and you come up with a total.                   You don't
  7    think so?
  8          A.     No.
  9                        I think this is just the summary of
 10    three entities saying you're -- this is the total of
 11    the three.       I mean, it's obvious that netting these
 12    three entities, which are clearly separate entities,
 13    comes to that number.
 14          Q.     Why do you say they're "clearly separate
 15    entities"?
 16          A.     Because he's delineated them as three
 17    separate entities.           CTX Hong Kong is owed
 18    8.8 million.        Benlida owes Circuitronix, LLC,
 19    5 million.       Round numbers.
 20          Q.     Um-hmm.
 21          A.     And Circuitronix for ROK owes -- is owed
 22    3.375 million.
 23          Q.     What about this?          What about paying the
 24    debts?
 25          A.     What about it?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 83  of 82
                                                                              Page
                                                187

  1          Q.     What about paying the debts of another
  2    entity?
  3          A.     Oh.    That's for a -- facts and
  4    circumstances related.            That could happen.           That
  5    could happen amongst related parties all the time.
  6          Q.     So if -- so if one entity was paying the
  7    debts of another entity and there was common
  8    ownership and common control, would that also be an
  9    indicia of related entity, related parties?
 10          A.     Facts and circumstances related.                It's --
 11    it happens all the time.             And there's nothing
 12    untoward about it.
 13                        The -- for example, one company could
 14    supply a good or service to the other company.                       And
 15    there could be an intercompany payment or a payment
 16    going to a third party that supplied that good and
 17    service on behalf of entity number 1 that actually
 18    went to the benefit of entity number 2 between those
 19    two parties.
 20          Q.     So the payments of the debts of another
 21    is -- I'm just asking -- is that a factor that is
 22    considered in identifying two parties are related?
 23          A.     The business relationship in an
 24    accounting -- an auditing context is always
 25    considered and evaluated.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 84  of 83
                                                                              Page
                                                187

  1          Q.     Let's -- okay.
  2                        If you had seen this document, would
  3    you have considered that, to create a more complete
  4    picture, it would have been necessary to look at the
  5    Hong Kong Benlida debts and obligations?
  6          A.     No.
  7          Q.     Okay.     In your report -- well, let me ask
  8    you this question:
  9                        Of all the records that you looked at,
 10    they were -- they were items that were extracted from
 11    the CTX accounting system.              Right?
 12          A.     As it relates to Circuitronix, LLC's,
 13    reconciliations sent to Benlida, yes.
 14          Q.     What does it mean -- in your report, you
 15    say, "We were not engaged" -- this is in paragraph 2
 16    in the middle -- "and did not perform any
 17    attestation or audit ..."
 18          A.     Are you done with your question?
 19          Q.     Yeah.     Yeah.     What does that mean?           Yeah.
 20          A.     Yeah.     This is a standard paragraph.               We're
 21    not -- we do not perform attestation procedures at
 22    my firm.
 23          Q.     Or audit?
 24          A.     Well, that's an attestation procedure.
 25          Q.     What's the difference between an


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 85  of 84
                                                                              Page
                                                187

  1    attestation and an audit?
  2          A.     Attestation falls under different standards
  3    under the -- under generally accepted auditing
  4    standards.
  5          Q.     And then you do go on to explain, "We
  6    relied on the records of CTX as produced, the CTX
  7    recon and the Benlida recon."                  And that you "did not
  8    perform any additional procedures to provide
  9    assurance as to their reliability."
 10                        So as I understand that, that means you
 11    got the numbers; you checked the numbers to make sure
 12    the math was correct.            Is that true?
 13                        MS. MARTINEZ:        Objection.
 14          A.     We checked the integrity of the numbers as
 15    it was provided to us -- as they were provided to us
 16    against the database.
 17          BY MR. MAZZOLA:
 18          Q.     How is that different from checking the
 19    numbers to see if they're correct?
 20          A.     I don't know -- I don't know if it's
 21    different.
 22          Q.     Okay.
 23          A.     I mean, the information provided to us was
 24    placed into an analysis that enabled us to review
 25    the information in a cohesive fashion.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 86  of 85
                                                                              Page
                                                187

  1          Q.     And in not performing any additional
  2    procedures to provide assurance as to their
  3    reliability, that means that you never drilled down
  4    to the supporting documentation that created that
  5    number.
  6                        MS. MARTINEZ:        Objection.
  7          A.     I believe we indicated, in some cases, we
  8    did.
  9                        So, for example, I tested -- we tested
 10    payments.       We wanted to determine that the payments
 11    were being made.
 12          BY MR. MAZZOLA:
 13          Q.     But, in any event, I know this because it's
 14    written in the report.            When you did the
 15    reconciliation, you looked at the numbers from
 16    Benlida regarding the U.S. side and Circuitronix
 17    regarding the U.S. transactions, the numbers were
 18    real close, weren't they?
 19          A.     They were.       With the exceptions noted in
 20    the report.
 21          Q.     Let me ask you a question.              When the
 22    reconciliations were done, I think the number was --
 23    you said they were on the payments portion.                     Let's
 24    go to paragraph 7.
 25          A.     I'm there.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 87  of 86
                                                                              Page
                                                187

  1                        Paragraph 7?
  2          Q.     Yep.
  3          A.     Okay.
  4          Q.     I beg your pardon.          Page 7, paragraph 161.
  5    I'm sorry.
  6          A.     Yes.
  7          Q.     You said there was a -- there is
  8    concurrence between the parties as to over
  9    99 percent of the payments.
 10          A.     Correct.
 11          Q.     So what did that tell you from an
 12    accounting perspective?
 13          A.     It told me what Benlida and Circuitronix
 14    were relying on for the payments were within like
 15    $92,000 of 60 -- almost 70 -- $68 million of
 16    payments.
 17          Q.     So that's indicative that the CTX numbers
 18    had a degree of reliability to them.                  Right?
 19                        MS. MARTINEZ:        Objection.
 20          A.     It gave me comfort that there was alignment
 21    between the two entities in terms of payments
 22    relating to the two entities, CTX, LLC, and Benlida.
 23                        MR. MAZZOLA:        Okay.     I'm sorry,
 24          Rebecca.      Would you read that back, please?
 25                        (The following record was read:


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 88  of 87
                                                                              Page
                                                187

  1                        A. "It gave me comfort that
  2                        there was alignment between the
  3                        two entities in terms of
  4                        payments relating to the two
  5                        entities, CTX, LLC, and
  6                        Benlida.")
  7          BY MR. MAZZOLA:
  8          Q.     And my question is, then, now, Mr. Mukamal,
  9    is you had comfort that the two numbers in side by
 10    side -- is it fair to say that your comfort with the
 11    two numbers side by side were accurate?
 12                        MS. MARTINEZ:        Objection.
 13          A.     I didn't audit these numbers.               What I did
 14    was I determined what the differences were.
 15          BY MR. MAZZOLA:
 16          Q.     How about this:         At least both -- well, but
 17    if two people are coming up with same number
 18    virtually and they both have competent
 19    bookkeeping -- bookkeeping departments, doesn't that
 20    give you some level of comfort that the numbers
 21    coming out of CTX were pretty darn accurate?
 22                        MS. MARTINEZ:        Objection.
 23          A.     It didn't alert me to an inaccuracy.
 24          BY MR. MAZZOLA:
 25          Q.     What's the difference?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 89  of 88
                                                                              Page
                                                187

  1          A.     I think there's a difference.
  2          Q.     Okay.
  3          A.     You're asking a global question.
  4          Q.     Okay.
  5          A.     And here, I'm looking at a very specific
  6    set of transactions.
  7          Q.     And then -- so the numbers, then, coming
  8    out of Benlida, the answer has to be the same.
  9    There was nothing alerting you to an inaccuracy of
 10    the numbers coming from Benlida.                 That's got to be
 11    the answer because CTX, there's no alert of
 12    inaccuracy by their numbers.               It's got to be the
 13    same on the other side of the coin.
 14                        MS. MARTINEZ:        Objection.
 15          A.     They agreed with each other.               Whether they
 16    were accurate or inaccurate, I can't say for sure.
 17          BY MR. MAZZOLA:
 18          Q.     But is it true, then, because it was true
 19    for Circuitronix, that insofar as the -- Benlida's
 20    numbers were concerned, there was nothing in your
 21    words alerting you to an inaccuracy.
 22                        MS. MARTINEZ:        Objection.
 23          A.     Well, there wasn't --
 24          BY MR. MAZZOLA:
 25          Q.     If not yes, explain why.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 90  of 89
                                                                              Page
                                                187

  1          A.     -- a 92,000 inaccuracy --
  2          Q.     Okay.
  3          A.     -- aligning the two numbers.               How's that?
  4          Q.     Okay.
  5          A.     That's the best I could answer.
  6          Q.     But the question was, was there anything in
  7    the Benlida numbers alerting you to an inaccuracy?
  8          A.     As to that line?          No.
  9          Q.     Okay.     And the same thing for CTX.
 10          A.     I accepted the accuracy of the numbers on
 11    both sides for that line.
 12          Q.     Here's an interesting question I want to
 13    ask you about.         Now that we've accepted the accuracy
 14    of these numbers.          Right?      We've accepted that
 15    they're not inaccurate.
 16          A.     I accepted they agreed to each other within
 17    $92,000.
 18          Q.     So you've come up with the -- an
 19    overpayment by CTX.           Right?
 20          A.     No.    I don't think I came up with an
 21    overpayment.
 22          Q.     Well, you have -- you come up with a number
 23    at the bottom that says CTX is owed money.
 24          A.     No.    I called it a difference.
 25          Q.     Well, look at Table 1.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 91  of 90
                                                                              Page
                                                187

  1          A.     That's what I'm looking for.               Okay.     Okay.
  2    I'm sorry.
  3          Q.     Yeah.
  4          A.     Okay.     I'm looking at Table 1.
  5          Q.     You've got CTX being owed, on the one hand,
  6    5.3 million, and on the other hand, 4.07 million.
  7          A.     I'm sorry.       I mean --
  8          Q.     We're on page 7.
  9          A.     Yeah.     I mean -- yeah.
 10                        According to the reconciliations.                 The
 11    recon- -- according to the difference in the two
 12    reconciliations between Benlida and
 13    Circuitronix, LLC.
 14          Q.     So --
 15          A.     That's what those numbers --
 16          Q.     There's an overpayment.
 17          A.     That there's a credit.            That there's an
 18    overpayment.        This is an unreconciled difference.
 19                        Maybe, perhaps, calling it an
 20    unreconciled difference would be more accurate.
 21          Q.     How does -- I'm going to call it an
 22    overpayment.        You can call it whatever you want.
 23    Okay?
 24                        How does an overpayment happen to that
 25    level?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 92  of 91
                                                                              Page
                                                187

  1          A.     Well, first of all, you're talking about
  2    $67 million.
  3          Q.     Okay.
  4          A.     Okay -- of payments, invoices that are
  5    different.       It happens -- invoices that are
  6    different, debit memos that are different, all three
  7    categories affect the balances between those two
  8    entities.
  9          Q.     How does a prudent business person -- I
 10    mean, I guess, the question is, have you ever seen
 11    overpayments of this level?
 12          A.     As a percentage?
 13          Q.     No.    Just as a -- yeah.           As a percentage.
 14          A.     Sure.
 15          Q.     Okay.     How about as a number?
 16          A.     At least that.
 17          Q.     And how does that happen?             How does a
 18    prudent business person allow overpayments to the
 19    tune of $5 million?
 20                        MS. MARTINEZ:        Objection.
 21          A.     Well, actually, the overpayment of payments
 22    that you're indicating as an overpayment, which I'm
 23    not conceding is an overpayment, is $92,386.
 24          BY MR. MAZZOLA:
 25          Q.     At the end on Table 7 --


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 93  of 92
                                                                              Page
                                                187

  1          A.     Yes.
  2          Q.     -- you reach a conclusion.              And that
  3    conclusion has lead-time penalties, et cetera.                       But
  4    you come up with a conclusion -- well, you just said
  5    something.       The overpayment is only $92,000.                 Are
  6    you sure about that?
  7          A.     The cash overpayment --
  8                        MS. MARTINEZ:        Objection.
  9          A.     -- $92,000 between the two reconciliations
 10    that they performed.
 11          BY MR. MAZZOLA:
 12          Q.     Let's look at Table 1.            How do you get to
 13    that?
 14          A.     Well, you do that by creating a database
 15    between Benlida's reconciliation and CTX, LLC's
 16    reconciliation.
 17          Q.     Okay.     Well walk me through Table 1.
 18          A.     Okay.     So Table 1 is Benlida's -- I'm
 19    sorry -- CTX, LLC's initial reconciliation.                     They
 20    said -- I think it was November 1st, if I recall
 21    correctly.       They indicated payments were made that
 22    are included in the reconciliation of 67,728,456.
 23                        (Interruption.)
 24          Q.     Are you still looking at it, Mr. Mukamal?
 25                        (Document review.).


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 94  of 93
                                                                              Page
                                                187

  1          A.     Right.     So CTX's initial reconciliation
  2    showed payments of 67,728,000.                 Benlida's two
  3    responses to that showed 67,636,070.                  They were
  4    close.
  5          BY MR. MAZZOLA:
  6          Q.     So when you come up with an amount owed,
  7    that amount owed is based -- at least here so far,
  8    it's on debit memos.           Right?
  9          A.     Yes.
 10          Q.     It's based on lead-time penalties?
 11          A.     Yes.    Which are part of the debit memos.
 12          Q.     Yep.
 13                        MS. MARTINEZ:        Sorry.      Are you
 14          referring to Table 1 or Table 7?
 15                        MR. MAZZOLA:        I'm just asking
 16          questions.
 17                        MS. MARTINEZ:        Oh, okay.
 18          BY MR. MAZZOLA:
 19          Q.     Right.     That's where you come up with those
 20    numbers?
 21          A.     Well, I didn't come up with the numbers.                     I
 22    extracted those numbers from both parties' set of
 23    records.
 24          Q.     So, then, it sounds to me, then, if we look
 25    at Table 7 now, where you come up with those


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 95  of 94
                                                                              Page
                                                187

  1    numbers, 7.868 million owed by Benlida to CTX.
  2                        Do you see that?
  3          A.     Yeah.     Yes.
  4          Q.     That number is made up of $2.3 million in
  5    debit memos.        Right?
  6          A.     It's a component.          Yeah.
  7          Q.     And it's also made up of 3.1 million in
  8    lead-time penalties after January 2016.
  9          A.     I'm sorry.       Table 7, you're looking at?
 10          Q.     Yes.    Table 7 on page 14.
 11          A.     Right.     I'm sorry.        I'm not understanding
 12    your question.
 13                        The lead-time penalties net of waivers
 14    is 3,107,000.
 15          Q.     Okay.     But you have a total amount owed of
 16    7.8 million.        7.86.
 17          A.     When comparing the two reconciliations and
 18    adjusting, yeah.
 19          Q.     So it sounds to me, then, from what you
 20    just said earlier, the lion's share of that
 21    7.86 million is made up of debit memos and lead-time
 22    penalties.
 23          A.     Yeah.     The majority of it is.            I agree.
 24          Q.     Okay.     The vast majority?
 25          A.     Okay.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 96  of 95
                                                                              Page
                                                187

  1          Q.     Right?     Is that correct?
  2                        Because you said 92,000 was what the --
  3    someone paid too much, by $92,000.                 But the rest of
  4    this number, the 7.86 million, we get to that by
  5    lead-time penalties and debit memos.
  6          A.     Let me look.
  7                        (Document review.)
  8          A.     Yeah.     But the adjustments in the
  9    subsequent tables affect that initial number.
 10          BY MR. MAZZOLA:
 11          Q.     By how much?
 12                        (Document review.)
 13          A.     I don't -- it's just a number for all of
 14    the analysis.
 15          BY MR. MAZZOLA:
 16          Q.     Yeah.     It's not fair to ask you for a
 17    specific number, Mr. Mukamal.
 18          A.     Right.
 19          Q.     I'm just trying to understand, when you
 20    come up with $7.86 million, really where do we have
 21    to look for that money?
 22                        Do you look to the debit memos and the
 23    lead-time penalties, or do we look to the fact that
 24    someone sitting here in Miami -- I beg your pardon --
 25    Fort Lauderdale accidently overpaid?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 97  of 96
                                                                              Page
                                                187

  1                        MS. MARTINEZ:        Objection.
  2          A.     No.    There are adjustments between the two
  3    entities that had to take place after their
  4    reconciliations that we identified.                  Okay?     And
  5    that's what's reflected in Table 7.
  6          BY MR. MAZZOLA:
  7          Q.     So money invoiced --
  8          A.     Right.
  9          Q.     -- money paid --
 10          A.     Right.
 11          Q.     -- is a $92,000 difference?
 12          A.     Well -- it shows the $92,000 difference.
 13    And if you look at Table 2, for example, in cash,
 14    because that's what you're referring to, I made
 15    adjustments to that that weren't made by the
 16    parties.
 17          Q.     Let me ask you this question, then.
 18          A.     Yes.
 19          Q.     If there was never a lead-time penalty and
 20    there was never a debit memo issued, would Benlida
 21    owe CTX any money?
 22          A.     Well, then you'd just be looking at part of
 23    the reconciliation that was required.                   You'd be
 24    looking at just payments versus invoices, and that's
 25    not -- that's not what this case is about.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 98  of 97
                                                                              Page
                                                187

  1          Q.     No.    I know that.        I know that.
  2          A.     All right.
  3          Q.     But if I could wave a magic wand, you'd
  4    have -- there would be no lead-time penalties and no
  5    debit memos.        Then what would the difference be?
  6    $92,000.      Right?
  7          A.     No.    Go to Table 7.
  8                        And you'll see 662,000 on invoices,
  9    12,614 against that in payments.
 10          Q.     I beg your pardon, Mr. Mukamal.                You're at
 11    what table?
 12          A.     Table 7.
 13          Q.     Okay.     So what would that number be?
 14                        Oh.    It would be $668,000 on --
 15          A.     662.
 16          Q.     662.
 17                        And then the debit memos, there's a
 18    mistake there in the math.              You see that.        Right?
 19          A.     I'm sorry.       On Table 7?
 20          Q.     Yeah.
 21          A.     Oh.    I think on debit memos, there was an
 22    error.      I think your expert picked that up, and he's
 23    right.      It was just one number against another
 24    number.      Formula error.
 25          Q.     So my question is, if there were no debit


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 99  of 98
                                                                              Page
                                                187

  1    memos --
  2          A.     Right.
  3          Q.     -- and there were no lead-time penalties,
  4    you would have how much of a difference?
  5          A.     Well, I'd have to correct for the math
  6    error.      So I don't remember what the figures were.
  7    Hold on a moment.          I'll do the math.
  8                        Actually, give me a moment.              I want to
  9    go to Paulikens' report.
 10          Q.     You want to look at Mr. Paulikens' report?
 11          A.     Yeah.     Just -- he identified the addition
 12    error.
 13          Q.     You can look at it.           Let's note that
 14    exhibit number.         That's Exhibit Number 144.
 15                        And, Mr. Mukamal, if there's anything
 16    you want to look at, just ...
 17                        (Document review.)
 18          A.     Yeah.     There's a total that looks like a
 19    few hundred thousand dollars' difference.
 20          BY MR. MAZZOLA:
 21          Q.     Okay.
 22          A.     So instead of, for example, Table 5 to be
 23    exact.      Instead of a 97,284 difference, it would be
 24    470,393.      And the invoices are fine.              The cash
 25    difference is fine.           So, basically, the difference


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 100 of99
                                                                              Page
                                                 187

   1    is the 470 -- whoa, whoa.
   2                       Yeah.     It's the 470,393 against 97,264
   3    [sic].
   4         Q.     And so the question is, if there were no
   5    debit memos, if that column was zero and the
   6    lead-time penalties was zero, what would be your
   7    conclusion?
   8         A.     You're asking me to assume that -- monies
   9    that were owed?
  10         Q.     Yes.    I'm asking you to assume that debit
  11    memos, Table 5, turns out to be zero.                 Nothing is
  12    owed on a debit memo.           Lead-time penalties, Table 6,
  13    turns out to be zero.           What do I do?        I back out
  14    $5.4 million?
  15         A.     Well, you'd have to add 470,000 to debit
  16    memos -- oh.       Back out debit memos.
  17                       So it would be just between payments
  18    and invoices?
  19         Q.     Um-hmm.
  20         A.     It would be 662 minus 12,614 --
  21         Q.     Okay.
  22         A.     -- 660,000 -- excuse me.            663,000, less,
  23    say, 12 -- say, 13,000.
  24         Q.     So 650,000 -- 600 -- yeah.
  25         A.     If you knock out all the other amounts that


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 101
                                                                             Pageof
                                                                                  100
                                                 187

   1    are owed.
   2                       MR. MAZZOLA:        Now is good to
   3          stop, if everyone's okay.
   4                       MR. ROSENTHAL:        Okay.
   5                       (Off record:        12:58 p.m. to 1:43 p.m.)
   6                       (Deposition Exhibit 168
   7                       marked for identification.)
   8          BY MR. MAZZOLA:
   9          Q.     Okay.    Good afternoon, Mukamal.
  10          A.     Oh, good afternoon.
  11          Q.     Welcome back.
  12          A.     Thank you.
  13          Q.     I'm going to hand over to you what we've
  14    marked now as Exhibit 166 [sic].               This is the black
  15    binder, we're going to call it.               I think everyone in
  16    the room knows that's what I'm referring to.                    It's
  17    the binder that you brought with you today.
  18          A.     Okay.
  19                       MS. MARTINEZ:        I think that's
  20          168.
  21                       MR. MAZZOLA:        168, then.      That's
  22          correct.
  23    \\\
  24    \\\
  25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 102
                                                                             Pageof
                                                                                  101
                                                 187

   1                       (Deposition Exhibit 168
   2                       marked for identification.)
   3         BY MR. MAZZOLA:
   4         Q.     Okay.     You don't have to spend any time
   5    looking through it.          Just take two seconds, look at
   6    it, and just say, is that a fair and accurate
   7    photocopy of what you gave to Ms. Martinez.
   8                       (Document review.)
   9         BY MR. MAZZOLA:
  10         Q.     And I'll assume you have no reason to
  11    believe that if we asked you to photocopy it, it
  12    wasn't -- it was done correctly.               Right?
  13         A.     It looks correct to me.
  14         Q.     Thank you.       Okay.     This is 168.
  15         A.     Well, I haven't been over every page.
  16         Q.     That's okay.
  17                       What is the --
  18         A.     I'm sorry.
  19         Q.     What is the binder?          These are the
  20    documents that you relied on, or are these -- tell
  21    me what this is.         What they're meant to be.
  22         A.     This is just a report with some backup that
  23    I put together.
  24         Q.     Okay.
  25         A.     Support for some of the writings in the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 103
                                                                             Pageof
                                                                                  102
                                                 187

   1    report.
   2         Q.     And some of the documents within the binder
   3    look like they were spreadsheets that were made by
   4    you or your team.         Is that correct?
   5         A.     It's possible, yes.
   6         Q.     Mr. Mukamal, I should have -- I neglected
   7    to ask you this before, and I didn't spend any time
   8    really going through your credentials.                 But I want
   9    to run through all the alphabet behind your name.
  10                       CPA.     I know what that is.
  11         A.     Good.     Good start.
  12         Q.     PFS.    What's that?
  13         A.     Personal financial specialist.
  14         Q.     Okay.     What does that do?          What does a
  15    personal financial specialist do?
  16         A.     Estate planning, tax planning, planning for
  17    financial -- it's basically a financial planning
  18    designation conferred by the AICPA.
  19         Q.     APV, what is that?
  20         A.     "ABV."
  21         Q.     ABV.    Yes.
  22         A.     It's the Accredited in Business Valuation.
  23         Q.     A CFE?
  24         A.     Certified fraud examiner.
  25         Q.     CFF?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 104
                                                                             Pageof
                                                                                  103
                                                 187

   1         A.     Certified in financial forensics.
   2         Q.     CIR?
   3         A.     "CIRA."
   4         Q.     CIRA.     Yes.
   5         A.     Certified insolvency and restructuring
   6    advisor.
   7         Q.     And CGMA?
   8         A.     Certified global management accountant.
   9         Q.     What does a certified global management
  10    accountant do?
  11         A.     It's just a designation for understanding
  12    systems in companies.           You know, how they operate
  13    internally, that sort of thing.
  14         Q.     Systems in companies and how they operate?
  15         A.     How they operate.          I mean, it's not
  16    something -- it's not a designation I use.                   It's
  17    just something I received over -- you know, over
  18    time.
  19         Q.     What do you mean you don't use it?
  20         A.     The discipline that it teaches, I don't
  21    utilize.
  22         Q.     What's a CIRA?        Mr. Parisi has that, and I
  23    see you don't have it.
  24         A.     Yes, I do.
  25         Q.     Oh.    You do.      I beg your pardon.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 105
                                                                             Pageof
                                                                                  104
                                                 187

   1                       It's the CTCE that he has.
   2         A.     I don't have that.
   3         Q.     What is that?
   4         A.     I have no idea.
   5                       That's -- it's -- I think it relates
   6    to CTC -- I don't remember it.                It's something I'm
   7    not capable of doing.
   8         Q.     Okay.     Let's go back to your report.              Let's
   9    look at page 6.
  10         A.     Okay.
  11         Q.     There's a footnote where you talk about
  12    reconciliation of transactions at paragraph 13; it's
  13    Footnote 10.
  14                       What were those -- and below, it says,
  15    Transactions refers to individual invoices, payments
  16    and debit memos.
  17                       What does that mean?
  18         A.     That was the initial reconciliation that
  19    Circuitronix sent to Benlida.
  20         Q.     Did you review any individual invoices?
  21    You or Mr. Parisi.
  22         A.     Just -- no.       We reviewed the electronic
  23    data that was contained within the reconciliations.
  24         Q.     So you reviewed the spreadsheets?
  25         A.     Reviewed the spreadsheets and the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 106
                                                                             Pageof
                                                                                  105
                                                 187

   1    identification of those transactions.
   2         Q.     Did you go in and drill down and look at
   3    individual invoices?
   4         A.     Mr. Parisi may have.              But that wasn't, I
   5    don't think, part of our scope.
   6         Q.     What about debit memos?
   7         A.     What about them?
   8         Q.     Did you look at individual debit memos?
   9    You or Mr. Parisi.
  10         A.     I don't know what Mr. Parisi testified to
  11    yesterday, but --
  12         Q.     He testified that he looked at 11 debit
  13    memos.
  14         A.     That was a test that was done.               Right.
  15                       But for the vast majority, we didn't.
  16         Q.     You didn't look at them?
  17         A.     We looked at them within the data provided
  18    by Benlida -- I mean, I'm sorry -- by Circuitronix
  19    in the reconciliation.
  20         Q.     Well, let's look at a debit memo.                Let me
  21    pull one up.
  22                       (Pause in proceedings.)
  23                       MR. MAZZOLA:        Are you looking at
  24         one right now?
  25                       MS. MARTINEZ:        Right.     I put


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 107
                                                                             Pageof
                                                                                  106
                                                 187

   1          Exhibit 159.       That was the first one.
   2                       MR. MAZZOLA:        I would love to
   3          find Exhibit 159.
   4                       Christina, what was the ...
   5                       MS. MARTINEZ:        159 is the first
   6          one I have.      It's, according to my index,
   7          March 21st, 2016.
   8                       MR. MAZZOLA:        What's the debit
   9          memo number?
  10                       MS. MARTINEZ:        I don't have that
  11          written down.
  12                       MR. LERNER:       Here.     I'm just
  13          going to send it to you.
  14                       (Pause in proceedings.)
  15                       MR. MAZZOLA:        I have it right
  16          over here.
  17                       MR. LERNER:       What did you call
  18          it, Christina?
  19                       MS. MARTINEZ:        159 is the first
  20          one I have.
  21                       MR. MAZZOLA:        There's a 155, too.
  22                       MS. MARTINEZ:        Oh.    Sorry.
  23          Didn't realize that, because there were
  24          three in a row that were debit memos.
  25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 108
                                                                             Pageof
                                                                                  107
                                                 187

   1         BY MR. MAZZOLA:
   2         Q.     Let's look at 155, Mr. Mukamal.
   3         A.     Yes, sir.
   4         Q.     So what we've put in front of you is
   5    Exhibit 155.       This is a debit memo.
   6                       Do you see that?
   7         A.     Yes.
   8         Q.     Do you have any recollection of ever seeing
   9    this debit memo or one that looks similar to this?
  10         A.     Similar ones, I do recall seeing.
  11         Q.     And on it, this debit memo makes reference
  12    to the penalty for lead time.
  13                       Do you see that?
  14         A.     Yes.
  15         Q.     And what was done to check or confirm the
  16    data?     The background data, the information, that
  17    supports this debit memo.
  18         A.     Circuitronix maintains a lead-time penalty
  19    input in their ERP system.             Inputs were accepted as
  20    per what's in my report.
  21         Q.     So let's look at Exhibit 156.
  22         A.     All right.       Yes.
  23         Q.     Exhibit 156 is a spreadsheet that we used
  24    yesterday with Mr. Parisi.             It talks about penalty
  25    for lead-time exceedances.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 109
                                                                             Pageof
                                                                                  108
                                                 187

   1                       Do you see that up in the upper
   2    left-hand corner?
   3         A.     Yes.
   4         Q.     And if you scroll all the way over to the
   5    far right, you'll see in the blue, "Timeliness,"
   6    "Late," "Days Late, 22," "Penalty $8.52."
   7                       I'm at the top row.
   8                       Do you see that?
   9         A.     Yes.
  10         Q.     What was done to confirm that, in fact,
  11    this shipment was 22 days late?
  12         A.     I believe in my report I indicated we
  13    accepted the inputs that are on this sheet.
  14         Q.     So you just accepted that CTX reported that
  15    this was 22 days late?
  16         A.     It's not that I don't -- really just
  17    accepted it.       I mean, I inquired as to how -- what
  18    the process was and how this was -- the information
  19    or the data was accumulated.             But with the short
  20    deadline, as a result of the case restarting, we
  21    didn't have time to validate any further.
  22         Q.     So is it generally true that for all the
  23    lead-time penalties because of the short deadline
  24    and the amount of work involved, you did not do
  25    anything to validate beyond looking at what is on


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 110
                                                                             Pageof
                                                                                  109
                                                 187

   1    this spreadsheet provided by CTX?
   2         A.     We didn't have their ERP system available
   3    to us.
   4         Q.     So you couldn't do anything other than just
   5    take that number?
   6         A.     I didn't do anything.
   7         Q.     You didn't do anything else.              Okay.
   8                       You did check the math, I presume?
   9         A.     I believe Mr. Parisi did.             Yes.
  10                       I also believe I indicated exactly
  11    that in my report.
  12         Q.     Where did you indicate that in your report?
  13                       Is that paragraph 33?
  14         A.     I'm looking.
  15                       Well, that's part of it.            But I
  16    believe that there was a mention.               Just give me a
  17    moment.
  18                       (Document review.)
  19         A.     Paragraphs 39 and 40.
  20         BY MR. MAZZOLA:
  21         Q.     Okay.
  22         A.     And then in the introduction to the report,
  23    we indicated we didn't do anything further than what
  24    was indicated.
  25         Q.     Did you -- did you ever review any emails


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 111
                                                                             Pageof
                                                                                  110
                                                 187

   1    from anyone at Benlida disputing the lead-time
   2    penalty?
   3          A.    I may have.       I don't recall.
   4          Q.    Did you review any spreadsheets from
   5    Benlida saying the lead-time penalty is not
   6    accurate, and here's what the correct number is?
   7          A.    I believe that Mr. Parisi would have done
   8    that.
   9          Q.    And if he did that, it would have been
  10    contained in the documents that were 151.                   Right?
  11          A.    I don't know.
  12          Q.    Well, it would have to be.             Right?
  13          A.    Well, if he saw something.             I don't know if
  14    he saw it on the screen.            I don't know if he printed
  15    it.    I don't know.
  16          Q.    Okay.     But he -- Mr. Parisi is not going to
  17    come in and talk about a lead-time penalty in this
  18    report without having looked at what the other side
  19    had to say about these lead-time penalties.                   Isn't
  20    that correct?
  21                       So, for example --
  22          A.    I don't know the answer to that.                I mean,
  23    the fact is I would have expected to see it if -- in
  24    your expert's report if he had specific disputes.
  25          Q.    So, for example, if we look at this


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 112
                                                                             Pageof
                                                                                  111
                                                 187

   1    Exhibit 156 -- we had that in front of you before.
   2         A.     Right.
   3         Q.     At that top line, where -- at the far right
   4    where the columns get blue.             And you have
   5    "Timeliness," "Late," "Days Late, 22," "Penalty
   6    $8.52."
   7                       If Benlida -- and this is just by way
   8    of example -- had come back and said, You know what?
   9    That's not right.         That shipment was timely, and
  10    there should be no $8.52 penalty.               Would you have
  11    looked at that document?
  12         A.     You gave me a hypothetical.              I don't know.
  13         Q.     If that document were available, would you
  14    have considered it?
  15         A.     I would have looked at it.
  16         Q.     Did you ever ask CTX if they had such a
  17    document?
  18                       (Document review.)
  19         A.     This is what my client was indicating were
  20    the correct lead-time penalties.
  21         BY MR. MAZZOLA:
  22         Q.     And --
  23         A.     I would assume -- or I assumed that if
  24    there was a dispute and it was agreed to by
  25    Circuitronix, they would have eliminated it from


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 113
                                                                             Pageof
                                                                                  112
                                                 187

   1    their database.
   2         Q.     Do you know if Benlida raised any
   3    objections to any of these lead-time penalties?
   4         A.     I don't know.
   5         Q.     Do you know if Benlida --
   6         A.     Well, I'm sure they did.
   7         Q.     Okay.
   8         A.     And I'm sure it was in the normal course of
   9    business.
  10         Q.     Do you have any documentation that shows
  11    Benlida agreed to these lead-time penalties?
  12         A.     Well, I don't know which ones -- I'd have
  13    to look at what -- which ones these --
  14         Q.     Just any of them.
  15         A.     I don't recall.
  16         Q.     I really do want to talk about related
  17    parties again.
  18                       You talked earlier about the -- from an
  19    accounting perspective, related parties, Mr. Mukamal.
  20         A.     Can I back up?        Because there's something I
  21    didn't understand in your question.                I just want to
  22    make sure it's clear.
  23         Q.     Sure.
  24         A.     Give me a time frame.
  25                       When you say "these lead-time


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 114
                                                                             Pageof
                                                                                  113
                                                 187

   1    penalties," what are you referring to?
   2          Q.     These ones in front of you.
   3          A.     Okay.
   4          Q.     Any of the lead-time penalties.
   5          A.     These are in 2020.
   6          Q.     Um-hmm.
   7          A.     All right.      So --
   8          Q.     The documents that came off the --
   9          A.     Right.
  10                       So Benlida -- my recollection is
  11    Benlida requested that lead-time penalty debit memos
  12    not be sent to them.          That's my recollection.
  13                       So I wouldn't have a debit memo for
  14    that.      I would just have the lead-time penalty
  15    spreadsheet.
  16          Q.     I wasn't asking about debit memos, I was
  17    asking if you had ever seen any communication from
  18    Benlida objecting to any lead-time penalty.                   That
  19    was one question.         I think your answer was either
  20    no, or I don't recall.           Is that correct?
  21                       MS. MARTINEZ:        Objection.
  22          A.     I'm sure I've seen emails about lead-time
  23    penalties prior to 2016.            But I can't recall,
  24    specifically.
  25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 115
                                                                             Pageof
                                                                                  114
                                                 187

   1         BY MR. MAZZOLA:
   2         Q.     But if there were emails prior to 2016
   3    addressing lead-time penalties that are addressed in
   4    your report, they would be in the set of documents
   5    identified in Exhibit 151.
   6         A.     I don't know.        I don't know what didn't
   7    exist -- what existed that I didn't see.
   8         Q.     But that's why we spent a little -- so much
   9    time earlier.       I was trying to understand what is
  10    the -- I needed -- I need to know what the universe
  11    of documents are that you reviewed and that you
  12    utilized to prepare the report.
  13                       And as I understand it, Mr. Mukamal,
  14    it's what was contained in Exhibit 152 and what is
  15    contained in Exhibit 151, which is this on the
  16    screen.
  17                       Truth be told, I haven't looked at
  18    every document.        But I just want to know that
  19    these -- if these documents came from your lawyer,
  20    these are the documents that you guys utilized and
  21    relied on in preparing the report.
  22         A.     As far as I know, yes.
  23         Q.     Okay.     I will accept mistakes happen;
  24    something doesn't get transcribed, doesn't get
  25    loaded over; something's corrupted.                But if you gave


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 116
                                                                             Pageof
                                                                                  115
                                                 187

   1    it to your lawyers and we got it on the OneDrive, or
   2    the download, that that is what you utilized.                    Is
   3    that correct, Mr. Mukamal?
   4         A.     To my knowledge, yes.
   5         Q.     Okay.     And I was going to jump into the
   6    related-party discussion.
   7                       You did say earlier, Mr. Mukamal -- I
   8    think you did -- that from an accounting perspective,
   9    the factors and the criteria that you considered to
  10    decide if two parties are related from an accounting
  11    perspective is -- common control is one of them.
  12    Right?
  13                       MS. MARTINEZ:        Objection.
  14         A.     Common control could be one of them.
  15         BY MR. MAZZOLA:
  16         Q.     Okay.     Common ownership could be one of
  17    them, too.      Right?
  18         A.     Yes.
  19         Q.     Common interest could be another.                Right?
  20         A.     Could be -- I'm sorry.            Common interest?
  21         Q.     They have common interests.
  22         A.     I don't know what that means.
  23         Q.     Business, economic.          You know what a common
  24    economic interest is, don't you?
  25         A.     They're joint partners in something.                 Joint


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 117
                                                                             Pageof
                                                                                  116
                                                 187

   1    venturers.      I mean, I don't -- I'm not sure I --
   2         Q.     Perhaps.
   3         A.     It's possible.
   4         Q.     Another one would be something I suggested,
   5    the fact that one of these entities pays the debts
   6    of another.       That also could be a factor.              Is that
   7    correct?
   8         A.     You'd need more.         It's very
   9    facts-and-circumstances oriented, as I previously
  10    testified to.
  11         Q.     And that's why I just gave you four
  12    examples to consider.
  13         A.     If you're constantly paying debts for
  14    another entity -- okay? -- that aren't your debts
  15    and you're not getting something equivalent in
  16    return, it could be.
  17         Q.     If you're not getting something equivalent?
  18         A.     Equivalent in return.
  19         Q.     Meaning, they're not paying your debts.
  20         A.     Or they're not giving you something in
  21    return.     That's an equivalent economic value.
  22         Q.     When you say "they," that's the person
  23    that's the beneficiary of the debts being paid.
  24         A.     Two-party -- I'm assuming a two-party
  25    arrangement in your example.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 118
                                                                             Pageof
                                                                                  117
                                                 187

   1         Q.     What about a three-party arrangement, where
   2    someone's manufacturing something and -- like in our
   3    case, Benlida's manufacturing something, perhaps
   4    they're manufacturing something in the Hong Kong
   5    entity, but the U.S. operation is paying the debt of
   6    the Hong Kong entity.
   7                       MS. MARTINEZ:        Objection.
   8         A.     Can you give me a hypothetical?
   9         BY MR. MAZZOLA:
  10         Q.     That's a hypothetical there.
  11         A.     There could be a lot of reasons why one
  12    entity's paying the debt for another entity that
  13    relates to offsets, relates to other transactions,
  14    relates to convenience, relates to, you know,
  15    advance monies on my behalf and I'll pay it back
  16    tomorrow, and because -- you know, a hold on our
  17    bank accounts.        I mean, there's all sorts of things
  18    that could occur.
  19         Q.     Do you mean like in a loan situation?
  20         A.     It could be a short-term loan.               It could be
  21    you delivered something of value to us, and we'll --
  22    instead of paying or reimbursing you for that --
  23    that asset or that consideration, we will take care
  24    of an obligation.
  25                       These are all hypotheticals.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 119
                                                                             Pageof
                                                                                  118
                                                 187

   1         Q.     Sure.
   2         A.     I mean, I've seen -- I've seen entities
   3    transact business with each other and with third
   4    parties on their behalf in the past.
   5         Q.     Let me ask you about the -- I think you --
   6    you talked -- you used the word "short-term loan."
   7    And the word that excited me was "loan."
   8                       How -- from an accounting
   9    perspective --
  10         A.     I'm sorry.       You mentioned "loan."
  11         Q.     No.    I heard you say "short-term loan."
  12         A.     But you mentioned, "as in a loan."
  13         Q.     Okay.
  14         A.     And I was following up with that.                Sorry.
  15    Go ahead.
  16         Q.     It doesn't matter, Mr. Mukamal.               You know,
  17    this lady's writing everything down, so we have a
  18    record.
  19         A.     Sure.
  20         Q.     So let's talk about a loan.
  21                       From an accounting perspective, an
  22    accounting perspective, someone who's responsible for
  23    keeping track of numbers and keeping track of data
  24    from an accounting perspective, what are the indicia
  25    of a loan?      What would you expect to see if something


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 120
                                                                             Pageof
                                                                                  119
                                                 187

   1    were a loan?
   2         A.     It could be a promise to pay for -- for
   3    monies or something of value that was advanced.                     It
   4    could be a document.
   5         Q.     You would look for a document, and that
   6    would be one --
   7         A.     It could be a document.
   8         Q.     What about interest?
   9         A.     It could contain interest.             It may not
  10    contain interest.         I've seen it both ways.
  11         Q.     What about remedies for default?                Would you
  12    see that in a loan or remedies in the event of
  13    default?
  14         A.     I've seen those in loan documents before,
  15    yes.
  16         Q.     What about terms, how much is being lent.
  17    Is that something you would see in a loan document?
  18         A.     If it's applicable, yes.
  19         Q.     What about repayment terms?              Is that
  20    something you would see in a loan document?
  21         A.     Sometimes, yes; sometimes, no.
  22         Q.     From an accounting perspective, how does --
  23    let me ask you this question -- well, from an
  24    accounting perspective, how does -- hypothetically
  25    speaking, how should a business report a loan that


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 121
                                                                             Pageof
                                                                                  120
                                                 187

   1    they give to someone.           How is that recorded?
   2         A.     It would be recorded as a due to, due from.
   3    You defined it as a "loan."             Correct?
   4         Q.     Um-hmm.
   5         A.     It could be recorded as an actual separate
   6    asset on a -- on the balance sheet, for example.                       It
   7    could be an off-balance-sheet item.                That's
   8    possible.
   9         Q.     What's an off-balance-sheet item?
  10         A.     It's not recorded.
  11         Q.     Are you allowed to do that in accounting?
  12         A.     What do you mean if you're "allowed"?                  I
  13    don't know what that means.
  14         Q.     When you say "off-balance sheet," that just
  15    doesn't sound right to me.
  16         A.     It means that it's not just recorded in the
  17    books, because it's meant to be repaid, or it's
  18    meant to be taken as a distribution to one party.
  19    There's a lot of things that could happen.                   It
  20    really depends on facts and circumstances.
  21         Q.     Is that a good practice to not record
  22    things on your books?
  23         A.     I didn't suggest it was a good practice.
  24    You're asking what -- what could happen.
  25         Q.     In this case, how would you expect a loan


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 122
                                                                             Pageof
                                                                                  121
                                                 187

   1    to Benlida to be reflected in CTX's U.S. books and
   2    records?
   3                       MS. MARTINEZ:        Objection.
   4          BY MR. MAZZOLA:
   5          Q.    Hypothetically speaking.
   6          A.    You're giving me a fact that it's a loan?
   7          Q.    I'm just giving you a hypothetical.
   8                       If a loan was given by CTX U.S. to
   9    Benlida, how would you expect that loan to be
  10    recorded in CTX's books and records?
  11                       MS. MARTINEZ:        Objection.
  12          A.    I don't have an opinion on how they record.
  13                       You're saying CTX's books and records.
  14          BY MR. MAZZOLA:
  15          Q.    Um-hmm.
  16          A.    I don't have an opinion on how they make
  17    recordations in their books and records for loans
  18    made.
  19          Q.    What would be a good, proper practice?
  20          A.    I can give you the possible practices.
  21          Q.    Okay.
  22          A.    I'm not going to comment on what's proper
  23    practice or not.
  24          Q.    Okay.     What would the possible practices
  25    be?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 123
                                                                             Pageof
                                                                                  122
                                                 187

   1          A.    You're defining it as a loan now.                Correct.
   2          Q.    I didn't make that word up.              Someone else
   3    used the word in this case.
   4          A.    But you're defining it for purposes of my
   5    question as a loan.
   6          Q.    Yes.    As a loan.
   7          A.    Okay.     A loan could be a due to, due from.
   8    It could be an exchange -- I'm loaning you something
   9    temporarily for an exchange of value that I'm
  10    holding collateral for.           And I'm not going to record
  11    the loan because I have adequate collateral or
  12    offsetting credits to apply.             It could be a
  13    long-term loan as part of a line of credit.                   It
  14    could be pursuant to an agreement -- an intercompany
  15    agreement between or -- intercreditor agreement
  16    between the parties.          It's possible.         It's all I can
  17    remember -- think of offhand.
  18          Q.    But the best practice is to record the loan
  19    in your books and records.
  20                       MS. MARTINEZ:        Objection.
  21          A.    I don't have an opinion as to what's best
  22    practice.      I've seen a lot of different practices.
  23    It's -- I think it's facts-and-circumstance based,
  24    and what the circumstances are matter.
  25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 124
                                                                             Pageof
                                                                                  123
                                                 187

   1         BY MR. MAZZOLA:
   2         Q.     Do you know in this case that there has
   3    been an allegation by Rishi Kukreja of CTX that he
   4    lent money to the Benlida people?
   5                       Have you ever heard that?
   6         A.     Personally, or are you talking about
   7    corporately?
   8         Q.     Corporately.
   9         A.     Okay.     Because you said "he lent money."
  10         Q.     Yeah.
  11         A.     Okay.     I think I recall hearing that.
  12         Q.     As part of your due diligence and review of
  13    documents in preparation for this report, did you
  14    review that aspect?
  15         A.     No.
  16         Q.     Do you have any knowledge with respect to
  17    how CTX reflects that loan on their books and
  18    records?
  19         A.     What loan?
  20         Q.     The loan that Mr. Kukreja says that CTX
  21    gave to Benlida.
  22         A.     Are you referring to payments in excess of
  23    invoices that are made?
  24         Q.     I didn't use the word.            Mr. Kukreja used
  25    the word "loan."


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 125
                                                                             Pageof
                                                                                  124
                                                 187

   1         A.     Right.     So that's what's I think you may be
   2    referring to.       I'm not -- I haven't audited
   3    Circuitronix's books, so I don't know what
   4    particular loans are sitting on the balance sheet.
   5                       But I do know that there's payments in
   6    excess of invoices that were made in accordance with
   7    the practice between the -- between Circuitronix and
   8    Benlida with respect to three-month -- three-month
   9    invoices being paid and payments on account that are
  10    being made by Circuitronix against those that result
  11    in a credit balance to Circuitronix resulting from
  12    those payments.
  13         Q.     So that credit balance, based upon the
  14    payments that we talked about earlier that -- my
  15    recollection was you said they were about $668,000.
  16    Is that correct, Mr. Mukamal?
  17         A.     No.    That's not correct.
  18                       These are concurring invoices that we
  19    were talking about, and concurring payments.                    That's
  20    not an over --
  21         Q.     What are --
  22         A.     -- that's not what I'm talking about.
  23         Q.     What are you talking about?
  24         A.     I'm talking about more payments in dollar
  25    amounts that are currently -- that are made in the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 126
                                                                             Pageof
                                                                                  125
                                                 187

   1    current period against invoices that have been
   2    accumulated in the past 90 days.
   3         Q.     And so you understand that might be what
   4    Mr. --
   5         A.     It's possible.
   6         Q.     Okay.     And insofar as your report goes --
   7    we talked earlier about this -- you concluded that
   8    if you took lead-time penalties out, the debit memos
   9    out, that the overpayment was $668,000 or
  10    thereabouts.       Is that correct?
  11         A.     Hold on a second.
  12         Q.     So what I'm getting at is, you're talking
  13    about this overpayment.           Are you suggesting that
  14    this overpayment of $668,000 is the loan that
  15    Mr. Kukreja is talking about?
  16         A.     It could be.        I don't know.
  17         Q.     So back to the related parties.
  18                       So let's -- you keep talking about
  19    facts and circumstances being important in
  20    determining whether two entities are related parties.
  21         A.     Well, you talked about it in an accounting
  22    perspective.
  23         Q.     Yes.    From an accounting perspective.
  24         A.     And I'm talking about -- I'm referencing as
  25    an audit perspective.           Because related parties


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 127
                                                                             Pageof
                                                                                  126
                                                 187

   1    become -- become in focus as an auditing component.
   2         Q.     Okay.     But auditing is part of accounting.
   3    Right?
   4         A.     It's element of it.
   5         Q.     You've got to be a -- I assume you've got
   6    to be a CPA to do an audit.             Right?
   7         A.     No.    You don't have to be a CPA to do an
   8    audit.     You have to be a CPA to opine on the
   9    financial statements.
  10         Q.     After you've done the audit?
  11         A.     Yeah.     It's tough to opine on something you
  12    haven't done yet.
  13         Q.     So talking about facts and circumstances,
  14    we talk about -- and I gave you a lot of examples, a
  15    lot of factors you could consider.
  16         A.     Right.
  17         Q.     Common control is one.
  18         A.     Okay.
  19         Q.     Is that correct?
  20         A.     It's one fact --
  21                       MS. MARTINEZ:        Objection.
  22                       You can answer.            Sorry.
  23         A.     It's one factor.
  24         BY MR. MAZZOLA:
  25         Q.     And another factor is -- that you might


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 128
                                                                             Pageof
                                                                                  127
                                                 187

   1    consider is common ownership.                 Is that correct?
   2                       MS. MARTINEZ:        Objection.
   3         A.     Correct.
   4         BY MR. MAZZOLA:
   5         Q.     Another factor, which we -- I tried this
   6    one, common interest.           And what I was talking about
   7    there was shared business interest between the two
   8    entities.      Is that another factor?
   9                       MS. MARTINEZ:        Objection.
  10         A.     Only if the one affects the other in
  11    commerce.
  12         BY MR. MAZZOLA:
  13         Q.     Okay.     And is another factor that you might
  14    consider in identifying, if two parties are related
  15    parties, is if one party is paying the debts of
  16    another one?
  17                       MS. MARTINEZ:        Objection.
  18         A.     That's not necessarily true.
  19         BY MR. MAZZOLA:
  20         Q.     Okay.     Let's look at -- let's look at what
  21    we previously marked as Exhibit 40.
  22                       This is a letter on Circuitronix
  23    letterhead.       Do you see that?
  24         A.     I do.
  25         Q.     Mr. Mukamal, have you ever seen this


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 129
                                                                             Pageof
                                                                                  128
                                                 187

   1    document before?
   2          A.    I do recall seeing it.
   3          Q.    You do recall seeing it.
   4                       Did you review it?
   5          A.    I don't recall whether I reviewed all of
   6    it, a piece of it, the first page.                I just don't
   7    remember.
   8          Q.    What was the circumstances of you reviewing
   9    it?
  10          A.    I think it was referenced in one of the
  11    court pleadings.
  12          Q.    If you go to the penultimate page of the
  13    letter -- that's a fancy word for second to last.
  14                       MR. MAZZOLA:        Right?
  15                       MR. ROSENTHAL:        It's the bow tie.
  16          BY MR. MAZZOLA:
  17          Q.    -- you'll see what lawyers call, you know,
  18    the notice section.          Where you see, "if to Benlida,"
  19    "if to ROK," "if to CTX U.S.," "if to CTX Hong
  20    Kong."
  21                       Do you see that?
  22          A.    Yes.
  23          Q.    With respect to the CTX U.S.A, do you see
  24    that notice is being given to -- although it's being
  25    sent to Florida here, it's being sent to the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 130
                                                                             Pageof
                                                                                  129
                                                 187

   1    attention of Mr. Kukreja.
   2                       Do you see that?
   3         A.     Yes, it is.
   4         Q.     And do you see with respect to the
   5    Hong Kong entity, it's being sent -- although to a
   6    Hong Kong address -- to Mr. Kukreja as well.
   7                       Do you see that?
   8         A.     Yes.
   9         Q.     From an accounting perspective, is that
  10    a -- just one minor -- maybe not a big piece -- but
  11    just one minor indicia that they're related parties?
  12    That U.S.A CTX and Hong Kong CTX are related parties
  13    with this both addressed to Mr. Kukreja?
  14         A.     They could be related parties.               But I don't
  15    understand what related parties have to -- what
  16    you're suggesting here.
  17                       I mean, related parties does not
  18    create anything other than potential disclosure
  19    issues, unless there is -- unless there's some --
  20    the companies are being audited -- you know, subject
  21    to audit and it requires a determination by the
  22    auditors if there's any fraud or defalcation that's
  23    taking place.       That's the consideration to me --
  24         Q.     Let me ask this question --
  25         A.     -- by an auditor.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 131
                                                                             Pageof
                                                                                  130
                                                 187

   1                       Just being a related party may rise to
   2    a level of disclosure if it's significant enough,
   3    but it doesn't mean that the economic interests
   4    aren't maintained separately.
   5         Q.     If CTX U.S.A and CTX Hong Kong are related
   6    parties from an accounting audit and business
   7    perspective, let's assume that.
   8         A.     If what?      I'm sorry.
   9         Q.     Is they are.        So --
  10         A.     Which two entities?
  11         Q.     CTX Hong Kong and CTX U.S.A.
  12         A.     Okay.
  13         Q.     If you assume that they're related parties.
  14    With that assumption, would it then make sense for
  15    you to review the debts claimed to be owed by
  16    CTX Hong Kong to Benlida?
  17         A.     In what context?
  18                       MS. MARTINEZ:        Objection.
  19         BY MR. MAZZOLA:
  20         Q.     In any context.
  21                       You know Benlida's claiming that CTX
  22    Hong Kong owes them money.             You know that.
  23         A.     I'm sorry?
  24         Q.     You know that Benlida is claiming that CTX
  25    Hong Kong owes them money.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 132
                                                                             Pageof
                                                                                  131
                                                 187

   1         A.     Yes.
   2         Q.     You know that --
   3         A.     Yes.    Yes.
   4         Q.     -- whether it's true or not, but you know
   5    that's their allegation.
   6         A.     Yes.
   7         Q.     And you knew that was their allegation from
   8    the beginning when you read the complaint.                   Isn't
   9    that correct?
  10         A.     Yes.
  11         Q.     And my question -- it's kind of a bigger
  12    question here.
  13                       And you know that in the complaint,
  14    Benlida is looking to the U.S. -- CTX U.S. to pay
  15    those debts to the Hong Kong entity.                 You know that
  16    as well.      Right?
  17                       MS. MARTINEZ:         Objection.
  18         A.     I assume that from the tenor of the
  19    complaint.
  20         Q.     So you know that?          So if you --
  21         A.     But I don't -- I didn't see it in the
  22    complaint.
  23         Q.     But you assume it from the tenor of the
  24    complaint.
  25         A.     Well, after the fact.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 133
                                                                             Pageof
                                                                                  132
                                                 187

   1                       When I'm looking at it now, and I'm
   2    saying, oh, this is really what it means, but I
   3    didn't see any claim in there in the complaint
   4    against -- go ahead.
   5         Q.     Well, you saw the invoices with the "HK."
   6    We went through that whole discussion earlier --
   7         A.     I know that.        But that --
   8         Q.     -- so my question is this:
   9                       Assuming that that's true, why would
  10    you not do any analysis of the invoices, the
  11    payments, the debits, between the Hong Kong entity
  12    and Benlida?
  13         A.     Because the claim isn't in the third
  14    amended complaint that your client filed.
  15         Q.     The claim is not in the complaint?
  16         A.     It's not in the complaint.             That was -- and
  17    I think I said this before.             If that was the
  18    contention, I would have expected an affirmative
  19    report from your expert, which I would have
  20    evaluated for rebuttal.           But I didn't get that
  21    report.
  22         Q.     So your answer is that the complaint does
  23    not allege that Benlida is looking to CTX U.S. to
  24    pay the debts of CTX Hong Kong?
  25                       MS. MARTINEZ:        Objection.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 134
                                                                             Pageof
                                                                                  133
                                                 187

   1          BY MR. MAZZOLA:
   2          Q.    That's a legal question, but that's --
   3          A.    I think it's a legal question.               I mean, you
   4    know you could -- you could possibly infer.                   But
   5    that goes beyond the scope of what I was asked to
   6    do.
   7          Q.    What you were asked to do?
   8          A.    What I was asked to do was to evaluate the
   9    intercompany between Benlida and Circuitronix U.S.
  10          Q.    And that was your instruction.               That's what
  11    you were asked to look at between Benlida -- Benlida
  12    and Circuitronix U.S.           Right?
  13          A.    Reconcile those accounts.
  14          Q.    And that was it.         No?
  15                       And at no point did you ever go back to
  16    anyone and say, Hey, you know what?                Perhaps we
  17    should look at the accounts between Hong Kong CTX and
  18    Benlida.
  19          A.    And why would that be?
  20          Q.    You -- at no time did you ever go back and
  21    do that, did you?
  22          A.    I didn't go back to do it.
  23                       But why would I?           These are separate
  24    entities.
  25          Q.    You were following your instructions,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 135
                                                                             Pageof
                                                                                  134
                                                 187

   1    initially, which was just to look at CTX U.S. and
   2    Benlida.      Is that correct?
   3         A.     I was asked to pursue the counterclaim,
   4    evaluate the counterclaim that my client filed.
   5    Rebuttal against your claim is a different issue.
   6    And until I saw the report of your expert, there was
   7    nothing for me to do.
   8         Q.     Hypothetically, if CTX U.S. is responsible
   9    for the debts of CTX Hong Kong.
  10         A.     Do you mind if I walk over there and get
  11    some water?
  12         Q.     Go ahead.
  13         A.     Go ahead.      Ask your question.
  14         Q.     Is it appropriate and reasonable -- scratch
  15    that question.
  16         A.     Okay.
  17         Q.     Continue with Exhibit 40.
  18         A.     Okay.
  19         Q.     If you go to the next page of Exhibit 40,
  20    you'll see that Mr. Kukreja is signing on behalf of
  21    CTX U.S. and CTX Hong Kong.
  22                       Is -- the fact that he's signing on
  23    behalf of both companies, is that indicia that the
  24    two companies, CTX U.S. and CTX Hong Kong, are
  25    related?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 136
                                                                             Pageof
                                                                                  135
                                                 187

   1         A.     Are what?
   2         Q.     Are related entities.
   3         A.     It may or may not be.             I'm not disputing
   4    one way or the other.
   5                       What -- I don't see a signature,
   6    though.     That's all I'm --
   7         Q.     I don't think anyone is disagreeing that
   8    Mr. Kukreja did not write that or that he did not
   9    agree to that.        And I think -- I don't know if
  10    there's a signed version of it.
  11         A.     Okay.     So that wasn't a trick question.                I
  12    know you better --
  13         Q.     No.    That was not a trick question.
  14         A.     Okay.
  15         Q.     Let's look at Exhibit 27.
  16         A.     Yes.
  17         Q.     This is a document we've been referring to
  18    as a business authorization.
  19         A.     Yes.
  20         Q.     Have you ever seen this document before?
  21         A.     No.    But I heard about it.           I think I read
  22    it in a pleading.
  23         Q.     Do you see where it begins in the English
  24    portion "For purposes of our company's business."
  25                       Do you see that?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 137
                                                                             Pageof
                                                                                  136
                                                 187

   1         A.     Yes.
   2         Q.     And can you read that?             Circuitronix, LLC.
   3    Do you see what it says?            Take a look at it.
   4                       (Document review.)
   5         A.     Yes.
   6         BY MR. MAZZOLA:
   7         Q.     The language of that.             How do you
   8    understand the language of that to read?
   9                       MS. MARTINEZ:        Objection.
  10         A.     I can only interpret it in my -- in my
  11    head.
  12         BY MR. MAZZOLA:
  13         Q.     Okay.
  14         A.     I don't know legally what it means
  15    precisely.
  16         Q.     In your head as an accountant, though,
  17    looking at this document and in your professional
  18    accounting opinion, might this document be indicia
  19    that Circuitronix, LLC, and Circuitronix Hong Kong
  20    are related entities?
  21                       MS. MARTINEZ:        Objection.
  22         A.     This in and of itself?
  23         BY MR. MAZZOLA:
  24         Q.     Um-hmm.
  25         A.     It doesn't suggest they're related


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 138
                                                                             Pageof
                                                                                  137
                                                 187

   1    entities.
   2         Q.     It doesn't suggest that at some level
   3    Circuitronix, LLC, is agreeing to pay debts due?
   4         A.     Well, it says, "Due to place orders to your
   5    company," meaning Benlida, "on our behalf."
   6                       So it could be that they're, you know,
   7    being appointed as a representative to place orders
   8    for the benefit of Circuitronix, LLC.
   9         Q.     And then do you see what it says below,
  10    that they're assuming?
  11         A.     Below.
  12         Q.     No.    The next sentence.          You only read that
  13    first sentence.        "Circuitronix, LLC, assumes" --
  14         A.     -- all -- "Circuitronix assumes all
  15    Circuitronix (Hong Kong) Limited's debts due to
  16    these orders."
  17                       These orders are orders for
  18    Circuitronix, LLC, for the benefit of Circuitronix,
  19    LLC."
  20         Q.     Okay.     So in your professional opinion,
  21    this document doesn't indicate that the two
  22    entities, the Hong Kong entity and the U.S. entity,
  23    are related --
  24                       MS. MARTINEZ:        Objection.
  25         A.     In and of itself, it could be an agency --


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 139
                                                                             Pageof
                                                                                  138
                                                 187

   1    you know, an agency, you know, relationship -- not
   2    an agency, a representative agreement for another
   3    company to order on behalf because it may be more
   4    convenient; it may be that -- that it falls within
   5    the way that the two companies, meaning the
   6    Hong Kong entity and -- I'm sorry -- Circuitronix
   7    and Benlida using another entity to identify -- to
   8    facilitate shipments --
   9         BY MR. MAZZOLA:
  10         Q.     But -- but --
  11         A.     -- let's put it that way.
  12                       I don't know.        I mean --
  13         Q.     -- but certainly not as an agent.                Right?
  14                       MS. MARTINEZ:        Objection.
  15         A.     I don't know.
  16         BY MR. MAZZOLA:
  17         Q.     Okay.
  18         A.     That's a legal determination.
  19         Q.     Could this be considered, as an accountant
  20    reviewing everything, just one small indicia of the
  21    Hong Kong entity and the U.S. entity being related
  22    parties?
  23                       MS. MARTINEZ:        Objection.
  24         A.     It's possible.        In and of itself, it
  25    doesn't.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 140
                                                                             Pageof
                                                                                  139
                                                 187

   1         BY MR. MAZZOLA:
   2         Q.     But it could be one indicia.              One small
   3    indicia.
   4                       MS. MARTINEZ:        Objection.
   5         A.     What -- a related party doesn't create a
   6    joint obligation.         I'm not sure I understand the
   7    context of your question.
   8         BY MR. MAZZOLA:
   9         Q.     I'm just asking if -- the fact that one
  10    entity is promising to pay the debts of another,
  11    whether or not -- if that is reflected that the two
  12    parties from an accounting perspective are related
  13    parties.      And the answer is either yes or no.
  14         A.     It's from an auditing perspective, not from
  15    an accounting perspective.
  16         Q.     Okay.
  17         A.     But from an auditing perspective, it may be
  18    something to ask a question about.
  19         Q.     Okay.     Let's look at Exhibit 21.
  20                       Have you seen this document before?
  21         A.     I believe so.
  22         Q.     And I don't mean to trick you.               This is
  23    actually --
  24         A.     But I think this was an attachment to one
  25    of the pleadings.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 141
                                                                             Pageof
                                                                                  140
                                                 187

   1         Q.     And I'll tell you that is the manufacturing
   2    agreement that is subject to this dispute here.
   3                       And I want you to go to the last page
   4    of it.     Maybe it's not the last page.
   5                       It's page 10.        I'm sorry.
   6                       I will represent to you that this is a
   7    list of exclusive customers.
   8                       Do you see that?
   9         A.     No.    I don't see --
  10         Q.     Page 10.
  11         A.     I see page 10.        It says "Identify potential
  12    customers."
  13         Q.     And "Circuitronix customers."
  14         A.     Right.
  15         Q.     And I'm going to represent to you that the
  16    parties in operation viewed these as exclusive
  17    customers of Circuitronix.
  18         A.     Okay.
  19         Q.     Circuitronix U.S.          And the question I have
  20    is if, as an accountant, you understood that
  21    Circuitronix Hong Kong was purchasing for this --
  22    these exclusive customers from Benlida, would that
  23    be an indicia -- a small indicia, it doesn't need to
  24    be a big one, just a small indicia -- that CTX
  25    Hong Kong and CTX U.S. operate as related parties.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 142
                                                                             Pageof
                                                                                  141
                                                 187

   1                       MS. MARTINEZ:        Objection.
   2         A.     What's the predicate that you started off
   3    with?
   4         BY MR. MAZZOLA:
   5         Q.     CTX Hong Kong is selling to Benlida --
   6    other way around.
   7         A.     Other way around.          Yeah.
   8         Q.     Is purchasing, from Benlida, product for
   9    these exclusive customers.
  10         A.     Right.
  11         Q.     And CTX USA, of course, is not objecting,
  12    from an accountant's perspective, or an auditor's
  13    perspective.       Looking at the whole picture, is that
  14    an indicia that CTX U.S. and CTX Hong Kong are
  15    related parties?
  16                       MS. MARTINEZ:        Objection.
  17         A.     I don't think it's dispositive of anything.
  18    There could be a lot of reasons for that.
  19         BY MR. MAZZOLA:
  20         Q.     Let's look at a document which we
  21    identified yesterday ...
  22                       (Pause in proceedings.)
  23                       MR. MAZZOLA:        Christina, can you
  24         give me a lifeline on this one?
  25                       MS. MARTINEZ:        I believe it's


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 143
                                                                             Pageof
                                                                                  142
                                                 187

   1         139, but I'm not 100 percent --
   2                       MR. MAZZOLA:        Yeah.    I'm not sure
   3         if is 139 or 140.          So we want to make the
   4         record clear --
   5                       MS. MARTINEZ:        What I have on my
   6         list for 140 is the payment schedule, so
   7         that's what makes me think this is 139.
   8                       MR. MAZZOLA:        Thank you,
   9         Christina.
  10         BY MR. MAZZOLA:
  11         Q.     We're putting up a document in front of
  12    you, Mr. Mukamal, which we've identified, which
  13    we've previously marked as Exhibit 139.
  14         A.     Right.
  15         Q.     And it's really not a fair question to ask
  16    you if you've ever seen it because -- unless you
  17    know.
  18                       Have you ever seen this document?
  19         A.     I haven't seen this document, to my
  20    recollection.       But I've seen one that had a 4/22
  21    update on it.       But it wasn't this because it went
  22    through 2021.
  23         Q.     What I want to point out to you, this is a
  24    ROK payment detail.
  25                       And you know who -- you know ROK.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 144
                                                                             Pageof
                                                                                  143
                                                 187

   1    You've heard of that company?
   2          A.    Yes.
   3          Q.    ROK was -- I guess, you call them a related
   4    party with Benlida.          Right?
   5                       MS. MARTINEZ:        Objection.
   6          A.    I don't know what their legal connection
   7    is.
   8          BY MR. MAZZOLA:
   9          Q.    What about from an accounting perspective?
  10    Do you know?
  11                       MS. MARTINEZ:        Objection.
  12          A.    I think there's some connection.                I don't
  13    know what precisely it is.
  14          BY MR. MAZZOLA:
  15          Q.    Okay.     In any event, though, at the bottom
  16    of this, you'll see various tabs, which are
  17    year-by-year summaries, and I'm going through them.
  18                       Do you see that?           I'm just showing you.
  19    And then they get into monthly summaries.                   And I'm
  20    going to scroll off of one of these months.                   Let me
  21    take a look.       Maybe I'll go to -- I'll go to
  22    February 2016.        Is that okay?           We did this yesterday.
  23          A.    Why are we doing it again?
  24                       It's a joke.
  25          Q.    That's a good one.          Because you don't know


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 145
                                                                             Pageof
                                                                                  144
                                                 187

   1    how Mr. Parisi answered it.
   2         A.     I do not.
   3         Q.     So I'm going to make it a little smaller so
   4    we can -- that's too small.             To try to let you see
   5    more of it at one time.
   6                       This is a payment detail.
   7                       Are you familiar with these payment
   8    details?
   9         A.     Yes.
  10         Q.     And this is a payment detail -- it's dated
  11    May 1, 2016.       And it's got bill numbers on the
  12    left-hand column at A.           Then at B, it's got bill
  13    dates.     It's got memos down at column C.               And it's
  14    got amount dues down in column D.
  15                       And in this one, you can see that it's
  16    got a subtotal of $537,000 owed.
  17                       Do you see that?
  18         A.     Can you go up to the top again, please?
  19         Q.     Um-hmm.
  20         A.     And go down.
  21         Q.     Do you see how it's from Circuitronix, LLC.
  22    Right?
  23         A.     Okay.     Go down.
  24         Q.     Do you want me to stop?
  25         A.     Yeah.     Just I want to see where the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 146
                                                                             Pageof
                                                                                  145
                                                 187

   1    payments were coming.
   2                       Stop right there.
   3         Q.     Okay.     Are you still with me?
   4         A.     Okay.
   5                       (Document review.)
   6         BY MR. MAZZOLA:
   7         Q.     Okay.     In this one, you see a subtotal of
   8    $537,000.
   9                       Do you see that?           Approximately.
  10         A.     Yes.
  11         Q.     And do you see how that subtotal is
  12    comprised of a U.S. total of $417,000, and then
  13    there's also a Hong Kong total of $120,000.
  14                       MS. MARTINEZ:        Just for the
  15         record, we're looking at rows 26, 36, and
  16         37.
  17         BY MR. MAZZOLA:
  18         Q.     Do you see that, Mr. Mukamal?
  19         A.     Yes.
  20         Q.     And if you look at column A, I guess that's
  21    where the invoice column was -- right? -- or the
  22    bill number column.          It seems that ROK is using
  23    this -- a similar numbering convention that Benlida
  24    does because they have an "HK" in there.
  25                       Do you see that?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 147
                                                                             Pageof
                                                                                  146
                                                 187

   1         A.     Yes.
   2         Q.     And is it fair for you to assume that where
   3    there's an "HK" in this -- in bill number, that that
   4    is because the purchase orders were issued from the
   5    Hong Kong Circuitronix entity.
   6                       MS. MARTINEZ:        Objection.
   7         A.     I don't know for a fact --
   8         BY MR. MAZZOLA:
   9         Q.     Okay.
  10         A.     -- but it's an assumption.
  11                       MS. MARTINEZ:        Objection.
  12         BY MR. MAZZOLA:
  13         Q.     And then you see over here that there's
  14    payments made to this subtotal.
  15                       Do you see that?
  16         A.     Correct.
  17         Q.     And we're looking at lines 39 and 40.                  And
  18    the payments are $300,000 apiece?
  19         A.     Yes.
  20         Q.     Now, if those -- let's look at what we also
  21    call "Payment Schedule."            And the dates of those are
  22    4/21 and April 28 -- 4/21 and 4/28/2016.                  Is that
  23    right?
  24         A.     Yes.    According to that.
  25                       MR. LERNER:       The payment schedule


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 148
                                                                             Pageof
                                                                                  147
                                                 187

   1         is Exhibit 140.
   2         BY MR. MAZZOLA:
   3         Q.     So if we look at the payment schedule --
   4    and I'm scrolling down -- this is Exhibit 140.
   5                       Have you ever seen this payment
   6    schedule?
   7         A.     I may have.       I don't recall this one
   8    specifically.
   9         Q.     Then we go to the April 21 date.
  10                       Do you see that?
  11         A.     Yes.
  12         Q.     And there's a $300,000 payment that matches
  13    up to the payment detail.            Is that correct?
  14                       I could pull the other document up.
  15         A.     Could you just highlight it where you're
  16    talking about?
  17                       MR. LERNER:       81.
  18         A.     There we go.
  19         BY MR. MAZZOLA:
  20         Q.     And there's another payment -- another
  21    payment on April 28th of $300,000.
  22                       Do you see that?
  23         A.     Yes.
  24         Q.     And is it fair to say that those payments
  25    match the payments noted on Exhibit 139, this


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 149
                                                                             Pageof
                                                                                  148
                                                 187

   1    payment detail?
   2         A.     The amounts are the same.
   3         Q.     And the dates are the same.              Right?
   4         A.     Yes.
   5         Q.     So is it a fair assumption that the
   6    payments referenced on payment schedule 140 are the
   7    same payments?
   8         A.     It's possible.
   9         Q.     Now, these payments came from a Citibank
  10    account.
  11                       Do you see that?
  12         A.     Yes.
  13         Q.     They both did.
  14                       And these payments were made to ROK.
  15    Do you see that?
  16         A.     Yes.
  17         Q.     So that's further indicia that the payments
  18    are the same between the payment detail and this
  19    payment schedule.         Right?
  20         A.     Right.     Because they came from the same
  21    bank.
  22         Q.     No.    Because they went to the same
  23    recipient, which is ROK Printed Circuit Board.
  24         A.     It's a piece of it.
  25         Q.     Okay.     Now, do you see the SWIFT number?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 150
                                                                             Pageof
                                                                                  149
                                                 187

   1    The CT -- CITIUS33?
   2         A.     You'll have to highlight it.
   3                       Yes.    I see the SWIFT number.
   4         Q.     I assume you know -- you've been around
   5    banking long enough to know that that's a SWIFT code
   6    that indicates that the money is originating from a
   7    U.S. bank account.         Right?
   8         A.     I believe that's correct.
   9         Q.     And do you know that this account number
  10    is -- can you assume, or do you believe it is true,
  11    that this account number is -- and I will tell you
  12    it's true, that this account is CTX, LLC's, U.S.
  13    account?
  14                       MS. MARTINEZ:        Objection.
  15         A.     Is CTX U.S. --
  16         BY MR. MAZZOLA:
  17         Q.     -- U.S.'s account.          Bank account.
  18         A.     I'll accept your representation for the
  19    purposes of your question.
  20         Q.     So is -- the fact that CTX U.S. is
  21    seemingly paying the debt of CTX Hong Kong, is that
  22    another condition that you would look at to conclude
  23    that -- from an accounting perspective, that
  24    CTX Hong Kong and CTX U.S. are related parties?
  25                       MS. MARTINEZ:        Objection.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 151
                                                                             Pageof
                                                                                  150
                                                 187

   1                       Go ahead.      Go ahead.
   2         A.     Can you go back to the first page?                I just
   3    want to make sure of something.
   4                       MR. LERNER:       Go back to
   5         Exhibit 139.
   6                       THE WITNESS:        No.      You're fine
   7         where you are.        Back to right.          There.
   8         Where you are.
   9                       MR. LERNER:       Back to 139.
  10         BY MR. MAZZOLA:
  11         Q.     I can go back to November 2015, and we can
  12    do the same exercise through April 2016.
  13         A.     Is this a ROK invoice, or is this a
  14    Hong Kong invoice?
  15                       Can you tell me?
  16         Q.     I beg your pardon?
  17         A.     Go down.      I'm sorry.          Right there.
  18                       Is that a ROK invoice, or is that a
  19    Hong Kong invoice from Benlida?
  20         Q.     It says ROK HK -- ROK.              These are ROK
  21    invoices.      Yes.
  22         A.     Okay.     Your question, please.
  23         Q.     So my question is, in fact, this is
  24    evidence that CTX U.S. is paying the debts of
  25    CTX Hong Kong to ROK, as opposed to Benlida, is


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 152
                                                                             Pageof
                                                                                  151
                                                 187

   1    that -- maybe not proof positive -- but from your
   2    professional perspective, indicia that CTX Hong Kong
   3    and CTX U.S. are, from accounting and financial
   4    perspective, related parties?
   5                       MS. MARTINEZ:        Objection.
   6         A.     It's a consideration.             But it's not indicia
   7    of -- is not indicia that they're paying debts on
   8    behalf of Hong Kong.
   9                       It could be that they're advancing
  10    money at their request -- at Hong Kong's request, or
  11    Hong Kong owes Circuitronix money for whatever
  12    reason, and they've been directed to pay invoices on
  13    behalf.
  14         BY MR. MAZZOLA:
  15         Q.     But you don't know, because you never did
  16    that accounting review.
  17         A.     Well, I never got to do that accounting
  18    review because your own witness didn't provide a
  19    report to that effect.
  20         Q.     But -- so -- but you never did it?
  21         A.     It was a rebuttal.          There was a rebuttal
  22    element to that, not an affirmative report.
  23         Q.     But the thing is, you're here to testify in
  24    accordance with your report.             And your report only
  25    addresses the reconciliations, the dollars, the


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 153
                                                                             Pageof
                                                                                  152
                                                 187

   1    purchases, the invoices, the money flowing back and
   2    forth between CTX U.S. and Benlida.                Isn't that
   3    correct?
   4          A.    I believe that's correct.
   5          Q.    Your report does not in any place address
   6    any of the money flowing back and forth -- the
   7    invoices, debit memos, obligations -- between
   8    CTX Hong Kong and Benlida.             Isn't that correct?
   9          A.    I didn't audit the payments going back and
  10    forth between the two.
  11          Q.    And your report doesn't anywhere address
  12    CTX U.S. owing any debts of CTX Hong Kong.
  13          A.    That's beyond the scope of my report.
  14          Q.    And your report doesn't address CTX U.S.
  15    paying anything on behalf of CTX Hong Kong.
  16          A.    Or receiving any goods from CTX Hong Kong
  17    and paying CTX Hong Kong for goods that Hong Kong
  18    provided to Circuitronix.
  19          Q.    And that's because your instructions were
  20    only to look at the CTX U.S. Benlida transactions.
  21                       MS. MARTINEZ:        Objection.
  22          A.    My scope was to evaluate the
  23    reconciliations that were between Benlida and
  24    Circuitronix, LLC, and identify the differences.
  25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 154
                                                                             Pageof
                                                                                  153
                                                 187

   1         BY MR. MAZZOLA:
   2         Q.     And you did that.
   3                       But you testified earlier that from
   4    looking at the complaint -- you don't need to be a
   5    lawyer to do this because you were able to do it --
   6    that it infers from the complaint that Benlida is
   7    suing CTX U.S. for invoices issued to CTX Hong Kong.
   8    You said that earlier.
   9                       Is that still true?
  10         A.     I can't infer.        I'd have to really
  11    speculate because it wasn't part of the complaint.
  12         Q.     In your reading of the complaint, you
  13    didn't see that.         This would be pure speculation.
  14         A.     I think it's a legal determination as to
  15    whether it was properly pled or not.                 It's not in my
  16    wheelhouse to do that.
  17         Q.     You recall we talked earlier -- we looked
  18    at invoices.       You recall we did that.            And those
  19    invoices, they have the numbering convention
  20    including an "HK" on it.            And the invoices -- these
  21    are materials that you have.             I can show them to you
  22    again.
  23                       I've pulled up from the Benlida
  24    complaint file, and I recall looking at this invoice.
  25                       MR. MAZZOLA:        What was the number


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 155
                                                                             Pageof
                                                                                  154
                                                 187

   1         on this one?
   2                       MR. LERNER:       166.
   3         BY MR. MAZZOLA:
   4         Q.     This was Exhibit 166.             Right?
   5                       MR. MAZZOLA:        I don't know.        Hold
   6         on.
   7                       MR. LERNER:       Yes.      It's 166.
   8                       MS. MARTINEZ:        I think for 166, I
   9         have --
  10                       MR. MAZZOLA:        April date.       Right?
  11                       MS. MARTINEZ:        Well, I have
  12         something labeled CCT-BLD190412001.
  13                       For 167, I have BLDCCT-HK1980602.
  14         So I'm not sure they're the ones that have
  15         been previously pulled up.
  16                       So this is Exhibit 167 that we're
  17         looking at.
  18                       MR. MAZZOLA:        Yes.
  19         BY MR. MAZZOLA:
  20         Q.     So this is the Exhibit 167.              Do you see
  21    this on the screen?          We looked at this earlier.
  22         A.     Yes.    I see it.
  23         Q.     And this is an invoice issued by Benlida.
  24    And the numbering convention for the invoice has
  25    "HK" in it.       And you acknowledged earlier that where


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 156
                                                                             Pageof
                                                                                  155
                                                 187

   1    there's an "HK" in it, that it was an invoice issued
   2    to Circuitronix Hong Kong.
   3         A.     Well, I don't know that for a fact, but it
   4    appears to be that.
   5         Q.     Okay.
   6         A.     But I don't know what --
   7         Q.     You may not know that for a fact.
   8         A.     Right.
   9         Q.     But I bet you can surmise that Mr. Kukreja
  10    would have known that for a fact.               Right?
  11                       MS. MARTINEZ:        Objection.
  12         BY MR. MAZZOLA:
  13         Q.     Right?
  14         A.     You're asking me to surmise?              I can surmise
  15    he knows more than I do about where that shipment
  16    went.
  17         Q.     Okay.     And so my point was, you can look at
  18    this -- you're a pretty smart guy.                You can look at
  19    this.     You have this document, and you know that
  20    these invoice numbers are contained in the
  21    complaint.
  22                       So the question is, when you got your
  23    instructions and you read the complaint, did you ever
  24    go back to anyone and say, Hey, hold on a second.
  25    Maybe we should be looking at the Hong Kong Benlida


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 157
                                                                             Pageof
                                                                                  156
                                                 187

   1    transactions as well?
   2                       MS. MARTINEZ:        Objection.
   3         A.     My charge was rebuttal.            I rebutted the
   4    elements of the complaint.
   5                       What you're saying is, I should -- I
   6    should go back and do an investigation of each
   7    invoice.      And the invoices that you're indicating
   8    have nothing to do with identifying the difference
   9    in the invoices and the payments and the debit
  10    memos.     What you're asking me to do is reconstruct
  11    and recharacterize what occurred between the
  12    parties.
  13         BY MR. MAZZOLA:
  14         Q.     You had this document.            It was Exhibit 158.
  15         A.     Okay.
  16         Q.     One minute.       This is Exhibit 158.           It says
  17    "Benlida shipment, payment and detail
  18    CTX Hong Kong."
  19                       Now, you saw I pulled this document off
  20    of the ones that were provided to us and the ones
  21    that you had for review.            Did you review this
  22    document?
  23         A.     Can you hit a tab, please?
  24         Q.     You see the summary at the bottom.                Right?
  25         A.     Yes.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 158
                                                                             Pageof
                                                                                  157
                                                 187

   1         Q.     And what does it show in column D?
   2                       Balance due.        Do you see that?
   3         A.     Correct.
   4         Q.     $13 million.
   5                       Do you see that?
   6         A.     Yes.
   7         Q.     What year do you want me to hit, because I
   8    don't know any more about this document than you do.
   9    So let's ...
  10         A.     Any tab.      It doesn't matter.
  11         Q.     I hit 2014.
  12         A.     Okay.
  13         Q.     I'm going to make it a little smaller,
  14    Mr. Mukamal -- okay? -- so we can look at it a
  15    little better.
  16                       Are you looking at the invoice numbers,
  17    Mr. Mukamal?
  18         A.     Yes.
  19         Q.     There's a lot here, but you can see that
  20    they have the "HK" in it.            Right?
  21         A.     Correct.
  22         Q.     And as we talked about earlier, the "HK" in
  23    the invoice number is an indication that it was
  24    related to a purchase order out of the Hong Kong
  25    operation -- CTX's Hong Kong operation.                  Right?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 159
                                                                             Pageof
                                                                                  158
                                                 187

   1         A.     I'm assuming.
   2         Q.     Did you see this document before?
   3         A.     I may have.       Because I think it equals the
   4    number that's owed between the parties.                  The bottom
   5    line number, I think, is -- what? -- the summary?
   6         Q.     This summary?
   7         A.     Yeah.
   8         Q.     Well, the bottom line number says what?                   If
   9    this was produced by Benlida, what does the bottom
  10    line summary show you?
  11         A.     It shows an accounts receivable.
  12         Q.     To Benlida?
  13         A.     Yeah.     But that's just self-serving.
  14    That's the amount that's, I believe, related to
  15    Hong Kong.
  16         Q.     It's the amount that Benlida says the
  17    Hong Kong entity owes them.             Whether it's true or
  18    not -- fabricated or pulled out of thin air --
  19    that's what it says.          Right?
  20         A.     I believe.       Correct.
  21         Q.     You guys had this.          Right?     You have, on
  22    the one hand, someone at Benlida sending
  23    communications to someone at CTX U.S.                 And you had
  24    this document.
  25                       Did you guys ever think, looking at


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 160
                                                                             Pageof
                                                                                  159
                                                 187

   1    this document, Hey, maybe we should start looking at
   2    the whole picture and not just half the picture.
   3                       Did you ever think of that?
   4                       MS. MARTINEZ:        Objection.
   5          A.    What you're asking me -- what you're saying
   6    is why didn't I go beyond the scope that was
   7    required in order to defend the third amended
   8    complaint on behalf of my client.
   9          BY MR. MAZZOLA:
  10          Q.    I'm not asking you to do something that
  11    you're not supposed to do.             I was just asking,
  12    perhaps, why didn't you just raise the issue with
  13    everyone and say, Hey, maybe we should look at this?
  14          A.    Well, I was anticipating your expert to do
  15    that.      And that's why I started looking at invoices.
  16    And he didn't raise it.           So why would I raise it in
  17    my affirmative report and do a rebuttal against a
  18    report that wasn't even issued in the first place?
  19          Q.    So you made no comments, and you have no
  20    opinion on this, do you?
  21                       MS. MARTINEZ:        Objection.
  22          A.    I have an opinion that your client
  23    maintained a separate set of books for Circuitronix,
  24    LLC.    And that's what I reconciled.
  25    \\\


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 161
                                                                             Pageof
                                                                                  160
                                                 187

   1          BY MR. MAZZOLA:
   2          Q.    But you have no opinion as to whether or
   3    not this number -- this 13.482 million is accurate.
   4    You have no opinion on that.
   5          A.    I didn't evaluate that.
   6          Q.    So the answer is you have no opinion.                  You
   7    can't have any opinion because you never looked at
   8    it.
   9          A.    Well, I looked at what was owed, because it
  10    was on documents that I saw.             But it was owed
  11    between Benlida and Circuitronix Hong Kong, not
  12    between Benlida and Circuitronix, LLC.
  13          Q.    And so the --
  14          A.    By your own books -- by your client's own
  15    books.
  16          Q.    So your answer is, then, you have no
  17    opinion as to the accuracy or veracity of this
  18    number because you never looked at it.
  19                       MS. MARTINEZ:        Objection.
  20          A.    I said I did look at it.            And then it was
  21    clear what it was.
  22          BY MR. MAZZOLA:
  23          Q.    You never reviewed it -- my question is
  24    this:
  25                       Do you have an opinion as to whether


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 162
                                                                             Pageof
                                                                                  161
                                                 187

   1    that's an accurate number?             Yes or no.
   2         A.     I have an opinion that it's accurate in
   3    your -- in your client's records.
   4         Q.     Do you know what CTX Hong Kong is showing
   5    in their records?
   6         A.     No.
   7         Q.     Do you -- let's assume ...
   8                       THE WITNESS:        Can we take a
   9         break?
  10                       MR. MAZZOLA:        Sure.
  11                       THE WITNESS:        I need five
  12         minutes.      It's been a while.
  13                       (Off record:        3:12 p.m. to 3:26 p.m.)
  14         BY MR. MAZZOLA:
  15         Q.     Mr. Mukamal, you did review Mr. Paulikens'
  16    report.     Right?
  17         A.     Yes.
  18         Q.     And it's fair to say that it's really
  19    rebuttal to yours.         Is that fair?
  20         A.     That's my interpretation of it -- or my
  21    reading of it.
  22         Q.     And before we went on the break, you were
  23    talking about, you know, how Mr. Paulikens didn't --
  24    didn't put up a number, so to speak.                 And my
  25    question for you is really -- I mean, why would


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 163
                                                                             Pageof
                                                                                  162
                                                 187

   1    Benlida need an expert -- and you know there's
   2    hundreds and hundreds of invoices in this case.
   3    Right?
   4         A.     There's a lot of invoices.
   5         Q.     A lot of invoices.
   6                       And you know Benlida's position is
   7    there's hundreds of unpaid invoices.                 You must
   8    understand that much.           Right?
   9         A.     I didn't count them.
  10         Q.     So the question is what value would an
  11    expert add to add up invoices and come up with a
  12    subtotal?
  13                       MS. MARTINEZ:        Objection.
  14         BY MR. MAZZOLA:
  15         Q.     As a full total.
  16                       MS. MARTINEZ:        Objection.
  17         A.     I don't know what his -- what his position
  18    is with respect to your -- the third amended
  19    complaint.
  20         BY MR. MAZZOLA:
  21         Q.     Why?
  22         A.     And remember, my -- my charge was to
  23    evaluate the counterclaim, and that's what I did.
  24                       I was anticipating that he would put
  25    forth his arguments, his calculations, his


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 164
                                                                             Pageof
                                                                                  163
                                                 187

   1    insertions of what that would be.               I wasn't going to
   2    do his job for him.          And that's what you're
   3    suggesting, that, well, you know there's things out
   4    there that we're claiming.
   5                       And I'm like, Okay, well, where are
   6    you claiming it?         I didn't see it in the
   7    complaint -- your complaint, and I'm waiting for
   8    Mr. Paulikens to identify what -- and quantify what
   9    that is.
  10         Q.     And my question to you --
  11         A.     And I would have evaluated it at that time.
  12         Q.     So my question to you is, then, what does
  13    an expert say, or why is an expert needed to add up
  14    all these invoices and come up with a total?
  15         A.     Well, for everything you've been asking me
  16    for today.      That this is a payment that was made
  17    from company X to company Y, and that was because
  18    company X received the benefit of it and took on the
  19    obligation, and this is the evidence that suggests
  20    they took on the obligation.             I saw none of that,
  21    because he didn't file a report.
  22         Q.     Okay.     And that's not really an accounting
  23    issue.     It's more of a legal issue that you just
  24    raised.
  25         A.     I think it's an accounting issue.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 165
                                                                             Pageof
                                                                                  164
                                                 187

   1                       I mean, you're telling me to do a
   2    calculation of what your client claimed, and my job
   3    was the counterclaim.
   4         Q.     What I was saying to you before the break
   5    was you had this document in front of you, which we
   6    marked as 150 --
   7                       MR. MAZZOLA:        What was the
   8         number?
   9                       MR. LERNER:       I'm not sure.
  10                       MR. MAZZOLA:        I have it.
  11         BY MR. MAZZOLA:
  12         Q.     We marked as Exhibit 158.             And my question
  13    was, you have this in front of you.                You have a
  14    document.      You have Benlida saying they're owed
  15    13-point -- approximately $13.5 million.                  You had
  16    that in front of you.           And my question to you is why
  17    not just go back to CTX and the lawyers that you're
  18    working with and say, Hey, should we address this,
  19    or Maybe we should address this?
  20                       MS. MARTINEZ:        Objection.
  21         A.     I think I answered the question as best I
  22    could.
  23         BY MR. MAZZOLA:
  24         Q.     The answer is you never did it.
  25                       MS. MARTINEZ:        Objection.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 166
                                                                             Pageof
                                                                                  165
                                                 187

   1         A.     My answer is I was waiting for the
   2    counterclaim -- for the rebuttal report.                  And I
   3    would have addressed whatever he raised in the
   4    rebuttal report.         That was my intention.           He didn't
   5    file a rebuttal report.
   6         BY MR. MAZZOLA:
   7         Q.     Let me ask you a hypothetical here.                 Let's
   8    just assume --
   9         A.     I mean, I'm sorry.          He didn't file -- I'm
  10    sorry.
  11                       He didn't file a rebuttal report.                He
  12    didn't file an affirmative report relating to what
  13    his opinions would be.           And he -- as far as I knew,
  14    he was designated as the expert to do so.                   But I
  15    didn't receive anything.
  16                       What you're asking me to do is to go
  17    ahead and do something that I was going to do on
  18    rebuttal, and that was the plan.               And there was a
  19    very short deadline to do so.
  20         Q.     And my question to you is -- and maybe you
  21    answered already -- is why do I need an affirmative
  22    expert to go ahead and add up all these hundreds of
  23    invoices and come up with a number that our clients
  24    say are not paid?
  25                       MS. MARTINEZ:        Objection.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 167
                                                                             Pageof
                                                                                  166
                                                 187

   1         A.     Because analysis is necessary for that.
   2    And that was your expert's supposed anticipated
   3    position.      It's not my job to do his job or your
   4    job.
   5         BY MR. MAZZOLA:
   6         Q.     Okay.     Let's assume -- let's assume that
   7    CTX U.S. -- all right?           Let's assume that they're
   8    responsible for the debts of CTX Hong Kong.                   Okay?
   9    So we're going to make that assumption.
  10         A.     It's a hypothetical.              Okay.
  11         Q.     And we're going to assume that the
  12    lead-time penalties and all the offsets are valid,
  13    and they're not disputed by anyone.                   We're assuming
  14    that one, too.        How much does CTX owe Benlida?
  15                       MS. MARTINEZ:        Objection.
  16         A.     I don't think CTX owes Benlida under this
  17    scenario you just laid out.
  18         BY MR. MAZZOLA:
  19         Q.     You're assuming the U.S. operation's
  20    responsible for ...
  21         A.     Oh.    Responsible for?
  22         Q.     ... the debts of CTX Hong Kong.               Yeah.
  23         A.     I'm not going to guess that.               You're asking
  24    me to guess something.
  25                       I mean, you could do -- you could do


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 168
                                                                             Pageof
                                                                                  167
                                                 187

   1    the math based on your own client's claims.
   2         Q.     It's not a guess.          It's just a hypothetical
   3    question.
   4         A.     If all the numbers are right, you do the
   5    math.     I mean, Hong Kong -- I'm sorry -- Benlida is
   6    claiming that Hong Kong owes it $13,492,823,
   7    according to the schedule you have up.
   8         BY MR. MAZZOLA:
   9         Q.     And we assume your number is spot on at
  10    7.6-million.
  11         A.     Okay.     So do the math.          7 million from
  12    13 million is --
  13         Q.     8 million.
  14         A.     -- about --
  15         Q.     No.
  16                       About 6 million?
  17         A.     6 million and change.
  18                       It's just math.            It doesn't mean that
  19    it's correct.
  20         Q.     No.
  21         A.     Nor would I suggest it's correct.
  22         Q.     The math wasn't hard to do, though.                 Right?
  23         A.     No.
  24         Q.     Even a lawyer can do the math.
  25         A.     No.    Straight math is not hard to do,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 169
                                                                             Pageof
                                                                                  168
                                                 187

   1    but ...
   2         Q.     Let me ask you this question.              This is
   3    another hypothetical with assumptions.
   4                       Let's assume that Benlida issued 1,000
   5    invoices to CTX Hong Kong and U.S., and that
   6    CTX Hong Kong and CTX U.S. made payment for all but a
   7    few hundred.
   8         A.     Okay.
   9         Q.     And you guys said this.            You said that
  10    there's -- assume that there's a 99 percent
  11    agreement as to the amounts invoiced across the
  12    thousands of invoices, and on the amounts paid.                     How
  13    can you shed any light on how much is owed by
  14    CTX U.S. and CTX Hong Kong?
  15         A.     I'm not sure I understand the question.
  16                       MS. MARTINEZ:        Objection.
  17         BY MR. MAZZOLA:
  18         Q.     As an expert.
  19         A.     I'm not sure I understand.
  20         Q.     Well, you're making the assumption that
  21    thousands of invoices were issued to both Hong Kong
  22    and U.S.
  23         A.     Right.
  24         Q.     Most of those invoices were paid, except a
  25    few hundred, and there's this 99 percent agreement


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 170
                                                                             Pageof
                                                                                  169
                                                 187

   1    on everything.
   2         A.     Did you say Hong Kong and the U.S.?
   3         Q.     Yes.
   4         A.     And you're asking me to assume -- I only
   5    made that observation before -- between Benlida and
   6    Circuitronix, LLC.         So you're asking me to make an
   7    assumption that also applies to Hong Kong?
   8         Q.     And Benlida.
   9         A.     Circuitronix Hong Kong and Benlida.                 Okay.
  10    The same -- the same alignment of percentages.
  11         Q.     Numbers.      Yeah.
  12         A.     I'm sorry?
  13         Q.     The same alignment.          Yeah.
  14         A.     Okay.
  15         Q.     How would you, or could you, shed any light
  16    as to what's owed?
  17                       MS. MARTINEZ:        Objection.
  18         A.     I don't have your client's records -- I'm
  19    sorry.     Let me strike that.
  20                       Quantification of amounts is a lot
  21    different than who owes those amounts.
  22         BY MR. MAZZOLA:
  23         Q.     That's a legal question.
  24         A.     It's a very legal question.
  25         Q.     That's why we're assuming.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 171
                                                                             Pageof
                                                                                  170
                                                 187

   1         A.     Okay.     But your client kept separate books
   2    and records for amounts -- for amounts owed.                    So why
   3    would I make a calculation that's hypothetical in an
   4    expert report?
   5         Q.     Your client kept separate books and records
   6    as well.
   7         A.     Right.     And that's what I relied on.
   8         Q.     Yeah.     But you say it like it's a bad
   9    thing.     That my client is keeping separate books and
  10    records.      Everyone does.
  11         A.     But you want me to just add a payable from
  12    one separate company to a receivable on another and
  13    net them out?       I mean, that's simple math, but it
  14    doesn't make it so.
  15         Q.     Let me ask you this question, because we
  16    just -- we did -- I think you may have possibly
  17    answered that other question earlier.
  18                       You saw a sets of books produced by --
  19    or a set of numbers produced by CTX, and you saw a
  20    set a numbers produced by Benlida --
  21         A.     You called them books.            They're records.
  22         Q.     I did.     I meant records.         Yeah.     I said a
  23    number -- set of records.            Right --
  24         A.     Yes.
  25         Q.     -- produced by Benlida and a set of records


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 172
                                                                             Pageof
                                                                                  171
                                                 187

   1    produced by CTX.         And those were the records that we
   2    used in connection with recon -- the Benlida recon
   3    and the CTX recon.
   4         A.     In essence.
   5         Q.     In essence.       And that you recall -- and I
   6    know you recall because your report says it -- that
   7    they were pretty darn close, 99 percent accuracy.
   8         A.     Right.     Except for the lead-time penalties
   9    and the lead-time exceedances.
  10         Q.     So assume that there was a high degree of
  11    accuracy there.        Do you have any reason to believe
  12    that that same high degree of accuracy would not
  13    have carried its way over to this Exhibit 158?
  14         A.     I don't know.        Speculation.
  15         Q.     Do you consider the issue of whether CTX
  16    owes Benlida for the debts of CTX Hong Kong to be an
  17    issue of law or an issue of accounting?
  18         A.     It could have elements of both.               It
  19    certainly -- it does have questions of law.                    The
  20    accounting between the two is a different issue.
  21         Q.     Why do you say that?
  22         A.     Because the quantification may be a
  23    different issue.         You have to go through the same --
  24    the same elements that I went through for the
  25    reconciliation between Benlida and Circuitronix,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 173
                                                                             Pageof
                                                                                  172
                                                 187

   1    LLC.    Your expert would have had to have gone
   2    through with his reconciliations, and then he would
   3    have to indicate where the goods were shipped to and
   4    things of that nature, because I would assume he'd
   5    be claiming that these are Circuitronix LLC's
   6    obligations.       But there were no -- there was
   7    evidence to -- that he presented.
   8         Q.     Are you familiar with the term "FIFO"?
   9         A.     Yes.
  10         Q.     That's a notion of first in, first out?
  11         A.     Yes.
  12         Q.     And you agree with the term "FIFO" in
  13    connection with this matter?
  14         A.     Yes.
  15         Q.     Is there anything on the bookkeeping,
  16    accounting perspective unreasonable for a bookkeeper
  17    to apply monies received to their oldest invoices
  18    if, when the monies are sent, there's no indication
  19    at the time of sending to what invoice they should
  20    be applied to?
  21         A.     Okay.     So you're asking me to assume that
  22    there's no evidence -- or no identification of what
  23    invoices payments are intended to be applied
  24    against?
  25         Q.     Um-hmm.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 174
                                                                             Pageof
                                                                                  173
                                                 187

   1         A.     Okay.     The answer is it may or may not be.
   2                       So if you have commingling of
   3    different entities that you're applying on a FIFO
   4    basis and/or statute of limitations apply to some
   5    of -- to some of those payment applications, there
   6    would be a difference between specific
   7    identification and FIFO.
   8         Q.     I'm not sure I follow that.
   9         A.     Sure.
  10                       So scenario one:           You have two
  11    different companies that invoices are -- a list of
  12    invoices are out there that are unpaid.                  Right?     And
  13    payment comes in from an -- from an obligor, and
  14    that payment is intended to go against invoices for
  15    company A, but not company B.                 FIFO would give you a
  16    wrong calculation.
  17                       If, on the other hand, or in
  18    conjunction with that, you had a statute of
  19    limitations problem where old invoices, whether in
  20    conjunction with A -- scenario A or not, applying a
  21    payment that came in under -- applied under FIFO to
  22    an obligation that precedes the -- which exceeds the
  23    statute of limitations, that would be incorrect
  24    because that invoice couldn't be collected as a
  25    matter of law.        Right?     It would be stale.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 175
                                                                             Pageof
                                                                                  174
                                                 187

   1         Q.     Why, from an accounting perspective, do you
   2    -- if the statute of limitations has already blown,
   3    do you walk away from the collection on an invoice?
   4    You don't do that.         You know you don't do that.
   5    That makes no sense.
   6                       MS. MARTINEZ:        Objection.
   7         A.     Why not?
   8         BY MR. MAZZOLA:
   9         Q.     What business people write off a bad debt
  10    because the statute of limitations has expired?
  11         A.     If the payor doesn't intend it to be
  12    applied to that, yes.           Then you'd have a dispute,
  13    wouldn't you?
  14         Q.     Yeah.     But you know people don't do that.
  15    They pay the debts.          They resolve their old
  16    invoices -- I mean, their old accounts payable
  17    receivables.
  18                       MS. MARTINEZ:        Objection.
  19         A.     I think I answered under the -- I'm sorry.
  20                       I think I answered under the scenario
  21    -- two scenarios I laid out.
  22         Q.     So let me just recap, then.              Right?
  23         A.     Sure.
  24         Q.     So the question is, if you receive a
  25    payment for a payor or obligor and the payment,


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 176
                                                                             Pageof
                                                                                  175
                                                 187

   1    which is a wire transfer -- a whole number, all
   2    ending in zeros, similar to the ones we were looking
   3    at over here, the 300,000s, the 500,000s -- and
   4    there's no indication at the time the payment is
   5    sent or the time the payment is received as to what
   6    invoices this money should be applied to, is it
   7    reasonable for a bookkeeping department to just take
   8    that money, plop it at the oldest invoices, and
   9    apply it?
  10         A.     Well, it's possible they could -- they can
  11    do that.      It doesn't mean it's legally permissible.
  12         Q.     I'm not asking you legally; from a
  13    bookkeeping.
  14                       Is that reasonable to do that?
  15         A.     I really don't know what the question
  16    means.
  17                       Meaning, is it -- you know, would a
  18    bookkeeper do that?          I've seen it happen before.              It
  19    doesn't make it right.
  20         Q.     When you're provided --
  21         A.     It's similar -- it's similar to my
  22    accounting firm.         If I have a client that didn't pay
  23    me in 2012 for something -- for a bill on an invoice
  24    in 2012.      And in 2023, that same client comes to me
  25    and says, I have something I need you to do.                    I


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 177
                                                                             Pageof
                                                                                  176
                                                 187

   1    might say I will do it.           Okay?       But I want to be
   2    paid for it within 10 days before I issue -- or
   3    deliver a report.         I'm making up a scenario.
   4                       And that person pays me $10,000 on
   5    account -- I'm making up a number.                Okay?     And my
   6    bookkeeper applies it to the -- to an invoice that's
   7    well beyond the statute of limitations.                  And then I
   8    go back to the client and say, Well, you still owe
   9    me for this report.          I think the client has a legal
  10    claim against me for taking his money and applying
  11    it to something that I couldn't legally collect.
  12         Q.     But you're creating a set of facts that are
  13    not necessarily applicable here.                And I would also
  14    add that anyone that does that is probably not a
  15    good businessman, and I think you're a lot smarter
  16    than that.      And before you sign the new engagement
  17    with that client, you would probably say you've got
  18    to clear up that old debt.
  19         A.     You're making a lot of assumptions in that
  20    statement, sir.
  21         Q.     So let's assume this, then.              Right?     Let's
  22    assume that CTX U.S. was responsible for all of
  23    CTX Hong Kong's invoices.            And let's assume that no
  24    statute of limitations issues exist.                 And, again,
  25    money's just coming in, round numbers.                 Would it be


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 178
                                                                             Pageof
                                                                                  177
                                                 187

   1    reasonable for a bookkeeper to apply that money, if
   2    there's no instruction, to the oldest invoices?
   3         A.     If there's --
   4                       MS. MARTINEZ:        Objection.
   5                       THE WITNESS:        I'm sorry.
   6         A.     It would be if there's identification of
   7    what invoices the payments that are in the queue are
   8    meant to be applied against.
   9         BY MR. MAZZOLA:
  10         Q.     It would be unreasonable if there was
  11    indication as to what invoices the money is to be
  12    applied to.
  13         A.     Or what -- why the payment's coming in.                   I
  14    mean, the inquiry would be, what are you paying?
  15                       Now, if you have indication of what --
  16    what you're paying, I think you answered your own
  17    question.
  18         Q.     But if you don't, do you think it's
  19    incumbent upon the bookkeeping department to go back
  20    and say, what are you paying?
  21         A.     I think it's --
  22                       MS. MARTINEZ:        Objection.
  23                       THE WITNESS:        I'm sorry.
  24         A.     I think it's important for the obligee to
  25    indicate what they're doing.             In this case, I didn't


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 179
                                                                             Pageof
                                                                                  178
                                                 187

   1    see any indication what they were providing to --
   2    you know, my understanding is that your client just
   3    didn't inform the company what it was doing, how it
   4    was applying -- how it was applying payments.
   5         BY MR. MAZZOLA:
   6         Q.     Did you see any instruction from CTX as to
   7    how to apply the payments?
   8         A.     I believe I did.         It's -- they sent every
   9    three months, a payment application.
  10         Q.     So let's look at this document we had
  11    before, which is --
  12                       MR. LERNER:       Which one?
  13                       MR. MAZZOLA:        -- the statement
  14         detail from May 1, 2016.
  15                       (Pause in proceedings.)
  16                       MS. MARTINEZ:        This is the ROK
  17         payment detail on Exhibit 158 still?
  18                       MR. MAZZOLA:        Yes.    158.    Thank
  19         you, Christina.
  20         BY MR. MAZZOLA:
  21         Q.     Do you see this ROK payment detail that's
  22    from Circuitronix?
  23         A.     I see it.
  24         Q.     Does this indicate --
  25                       It's dated May 1.          Do you see that?


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 180
                                                                             Pageof
                                                                                  179
                                                 187

   1         A.     2016.     Yes.
   2         Q.     Do you know on what date this payment
   3    detail would have been transmitted to, in this case,
   4    ROK?
   5         A.     I don't know looking at it.
   6         Q.     And if it was transmitted on May 1 for
   7    invoices from February and some from April, and
   8    there was whole numbers, as it is here, made in the
   9    end of April, would this be reasonable and
  10    sufficient to let a bookkeeper know to what invoices
  11    to apply the money to?
  12                       MS. MARTINEZ:        Objection.
  13         BY MR. MAZZOLA:
  14         Q.     Round numbers, I meant.             Round numbers.
  15         A.     Rounds numbers where?             I'm sorry.
  16         Q.     Over here.
  17         A.     Right.     So that was a course of conduct
  18    between the parties that were paying round numbers.
  19    I saw emails that Benlida was, you know, constantly
  20    asking for money, so there were payments being made.
  21    I mean, it's -- but the invoices that are being paid
  22    are clearly -- that they want that applied against
  23    are clearly indicated on the top part of that
  24    document.
  25         Q.     But you see even after this, he's carrying


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 181
                                                                             Pageof
                                                                                  180
                                                 187

   1    a balance --
   2         A.     Yes.
   3         Q.     -- of 189,000.
   4         A.     That doesn't give your client -- yes.
   5                       But that doesn't give your client
   6    leave to decide where they're going to apply a
   7    credit balance and not provide an accounting,
   8    indicating what they were doing to give the party a
   9    chance to object to that.            Because that's obviously
  10    not what was intended by that -- by that type of
  11    document.
  12         Q.     But if it's sent a month later, is that
  13    timely?
  14                       MS. MARTINEZ:        Objection.
  15         A.     If that's the course of conduct between the
  16    parties, it could be, yes.             I think so.
  17         BY MR. MAZZOLA:
  18         Q.     You said our clients were always begging
  19    for money.
  20         A.     I didn't say "begging."
  21         Q.     "Harping" or "chasing" for money.
  22                       MS. MARTINEZ:        Objection.
  23         A.     I saw emails to that effect.
  24         BY MR. MAZZOLA:
  25         Q.     Do you think maybe they were chasing for


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 182
                                                                             Pageof
                                                                                  181
                                                 187

   1    money because, pursuant to Exhibit 158, they were
   2    owed $13 million?
   3         A.     I'm sure that had a part of it.
   4                       They should have then pursued
   5    Circuitronix Hong Kong for that.               That would be one
   6    way to deal with it.
   7         Q.     Mr. Mukamal, we have your invoices here.
   8         A.     Yes, sir.
   9         Q.     I can hand them to you.            But if you know
  10    the grand total --
  11         A.     I do not.
  12         Q.     I guess I'm going to hand them to you.
  13    It's Exhibit 164.
  14                       MS. MARTINEZ:        I think you have
  15         them.
  16                       THE WITNESS:        Oh.    I do.    I do.
  17         A.     I'm sorry.       I have it.       Okay.
  18                       (Deposition Exhibit 164
  19                       marked for identification.)
  20         BY MR. MAZZOLA:
  21         Q.     I'm just looking for a grand total.
  22         A.     Oh, I'm sorry.        I'd have to add them up.
  23         Q.     I asked Mr. Parisi yesterday.              He thought
  24    it was north of 100,000.            I think it's north of
  25    200,000.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 183
                                                                             Pageof
                                                                                  182
                                                 187

   1         A.     Oh.    Wait a minute.         I'm sorry.      Give me a
   2    moment.
   3                       I'm including carryover balances from
   4    paid amounts.
   5         Q.     Yeah.     Okay.     Has it all been paid?
   6         A.     Through June.
   7                       (Document review.)
   8         A.     About 230 total.
   9         BY MR. MAZZOLA:
  10         Q.     Has it all been paid?
  11         A.     Yes.
  12         Q.     Has your firm been paid everything in
  13    connection with the Kin Wong case?
  14         A.     Yes.
  15         Q.     And I assume that Mr. Kukreja doesn't have
  16    any accounts payable to you.
  17         A.     I haven't billed July yet.
  18         Q.     MCP.    I see that on the invoices.              That's
  19    Mr. Parisi.       Right?
  20         A.     Correct.
  21         Q.     Who is BEM?
  22         A.     Me.
  23         Q.     Oh.    Yeah.     Sorry.
  24                       SVK is?
  25         A.     Sharmila Khanorkar.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 184
                                                                             Pageof
                                                                                  183
                                                 187

   1         Q.     And Mr. Parisi left on his own accord?
   2         A.     Yes.
   3         Q.     You have no problem with any of the work he
   4    did?
   5         A.     No.    He's -- he's sorely missed.
   6         Q.     A good, fine, competent accountant?
   7         A.     Yes.
   8         Q.     And if he had an opinion yesterday, that
   9    opinion would be good and solid in your mind?
  10         A.     I don't know what he said, but --
  11         Q.     Okay.
  12         A.     -- I have faith in his judgment.
  13         Q.     Okay.
  14                       MR. MAZZOLA:        Give us two
  15         seconds.      I think we're done.          I just need
  16         two seconds.
  17                       (Off record:        4:00 p.m. to 4:02 p.m.)
  18                       MR. MAZZOLA:        I'm done.
  19                       MS. MARTINEZ:        We will read and
  20         sign, please.
  21                        (Proceedings concluded at 4:02 p.m.)
  22

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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 185
                                                                             Pageof
                                                                                  184
                                                 187

   1               IN THE UNITED STATES DISTRICT COURT
   2               FOR THE SOUTHERN DISTRICT OF FLORIDA
   3    JIANGMEN BENLIDA PRINTED             )
   4    CIRCUIT CO., LTD.,                   )
   5           Plaintiff,                    )
   6    vs.                                  ) Civil Action No.
   7    CIRCUITRONIX, LLC,                   ) 21-601-125-civ
   8           Defendant.                    )
   9

  10                        REPORTER'S CERTIFICATE
  11                          ORAL DEPOSITION OF
  12    BARRY MUKAMAL, CPA, PFS, ABV, CIRA, CFE, CFF, CGMA
  13                       Tuesday, August 1, 2023
  14                  I, Rebecca J. Callow, Registered Merit
  15    Reporter, Certified Realtime Reporter, Registered
  16    Professional Reporter and Notary Public in and for
  17    the State of Florida, hereby certify to the
  18    following.
  19                  That the witness, BARRY MUKAMAL, CPA, PFS,
  20    ABV, CIRA, CFE, CFF, CGMA, was duly sworn by the
  21    officer and that the transcript of the oral
  22    deposition is a true record of the testimony given
  23    by the witness;
  24                  That the original deposition was delivered
  25    to ____________________________.


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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 186
                                                                             Pageof
                                                                                  187
                                                 187

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   2                  That a copy of this certificate was served
   3    on all parties and/or the witness shown herein on
   4    _____________.
   5

   6                  I further certify that pursuant to FRCP
   7    Rule 30(f)(1) that the signature of the deponent:
   8                  [ X ] was requested by the deponent or a
   9    party before the completion of the deposition and is
  10    to be returned within 30 days from date of receipt
  11    of the transcript.         If returned, the attached
  12    Changes and Signature Page contains any changes and
  13    the reasons therefor;
  14                  [    ] was not requested by the deponent or
  15    a party before the completion of the deposition.
  16                  I further certify that I am neither
  17    counsel for, related to, nor employed by any of the
  18    parties or attorneys to the action in which this
  19    proceeding was taken.           Further, I am not a relative
  20    or employee of any attorney of record in this cause,
  21    nor am I financially or otherwise interested in the
  22    outcome of the action.
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Case 0:21-cv-60125-RNS Document 203-1 Entered on FLSD Docket 08/22/2023 Page 187
                                                                             Pageof
                                                                                  188
                                                 187

   1

   2                  SUBSCRIBED AND SWORN TO under my hand and
   3    seal of office on this the 15th day of
   4    August, 2023.
   5

   6

   7                        ______________________________
   8                        Rebecca J. Callow, RMR, CRR, RPR
   9                        Notary Public, Miami, Florida
  10                        My Commission No. HH 409626
  11                        Expires:      06/12/2027
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